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                  EXHIBIT 1
          Case: 1:20-cv-03463 Document #: 1-1 Filed: 06/12/20 Page 2 of 136 PageID #:43
All Redactions Not Applicable to Property - Content Intentionally Removed




Disclosure Statement

                                It is our pleasure to present the enclosed policy to you
                                            for presentation to your customer.


                                     INSTRUCTION TO AGENT OR BROKER:

WE REQUIRE THAT YOU TRANSMIT THE ATTACHED/ENCLOSED DISCLOSURE STATEMENT TO THE CUSTOMER
                                     WITH THE POLICY.

   Once again, thank you for your interest, and we look forward to meeting your needs and those of your customers.




                                                                                                  U-GU-873-A CW (06/11)
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Disclosure Statement

               NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


             If you want to learn more about the compensation Zurich pays agents and brokers visit:

                                http://www.zurichnaproducercompensation.com

                             or call the following toll-free number: (866) 903-1192.



                   This Notice is provided on behalf of Zurich American Insurance Company

                                       and its underwriting subsidiaries.




                                                                                            U-GU-874-A CW (06/11)
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                                                                                     9
Property Insurance Policy                                                       ZURICH




                                       Zurich North America
                                     Customer Inquiry Center
                                         1299 Zurich Way
                                 Schaumburg, Illinois 60196-1056
                          1-800-382-2150 (Business Hours: 8am~4pm [CT])
                                 Email : info . source@zurichna . com




                                                                          U-CP-MAN-Cover (11/17)
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Important Notice – In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this
policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




            President                                                         Corporate Secretary


QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                           Email: info.source@zurichna.com




                                                                                                           U-GU-319-F (01/09)
                                                                                                                   Page 1 of 1
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Insured Name: Marriott International, Inc.
Policy Number: PPR 3700638-17
Effective Date: 04/01/2019




             THIS DISCLOSURE IS ATTACHED TO AND MADE PART OF YOUR POLICY.

             DISCLOSURE OF IMPORTANT INFORMATION
           RELATING TO TERRORISM RISK INSURANCE ACT
                                                               SCHEDULE*

Premium attributable to risk of loss from certified acts of terrorism for lines of insurance subject to TRIA:
Not Applicable – Terrorism Exclusion

*Any information required to complete this Schedule, if not shown above, will be shown in the Declarations.
A. Disclosure of Premium
    In accordance with the federal Terrorism Risk Insurance Act (“TRIA”), as amended, we are required to provide you
    with a notice disclosing the portion of your premium, if any, attributable to the risk of loss from terrorist acts certified
    under that Act for lines subject to TRIA. That portion of premium attributable is shown in the Schedule above. The
    premium shown in the Schedule above is subject to adjustment upon premium audit, if applicable.
B. Disclosure of Federal Participation in Payment of Terrorism Losses
    The United States Government may pay a share of insured losses resulting from an act of terrorism. The federal
    share will decrease by 5% from 85% to 80% over a five year period while the insurer share increases by the same
    amount during the same period. The schedule below illustrates the decrease in the federal share:
    January1, 2015 – December 31, 2015 federal share: 85%
    January1, 2016 – December 31, 2016 federal share: 84%
    January1, 2017 – December 31, 2017 federal share: 83%
    January1, 2018 – December 31, 2018 federal share: 82%
    January1, 2019 – December 31, 2019 federal share: 81%
    January1, 2020 – December 31, 2020 federal share: 80%
C. Disclosure of $100 Billion Cap on All Insurer and Federal Obligations
    If aggregate insured losses attributable to terrorist acts certified under TRIA exceed $100 billion in a calendar year
    (January 1 through December 31) and an insurer has met its deductible under the program, that insurer shall not be
    liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in such case insured
    losses up to that amount are subject to pro rata allocation in accordance with procedures established by the Secretary
    of Treasury.
D. Availability
    As required by TRIA, we have made available to you for lines subject to TRIA coverage for losses resulting from acts
    of terrorism certified under TRIA with terms, amounts and limitations that do not differ materially from those for losses
    arising from events other than acts of terrorism.
E. Definition of Act of Terrorism under TRIA
    TRIA defines "act of terrorism" as any act that is certified by the Secretary of the Treasury, in accordance with the
    provisions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk
    Insurance Act provides that the Secretary of Treasury shall certify an act of terrorism:
    1. To be an act of terrorism;
    2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
                                                                                                                      U-GU-630-D CW (01/15)
                                             Copyright © 2015 Zurich American Insurance Company                                 Page 1 of 2
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3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
   (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
   principally in the United States, on which United States income tax is paid and whose insurance coverage is
   subject to regulation in the United States), or the premises of a United States mission; and
4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
   United States or to influence the policy or affect the conduct of the United States Government by coercion.
No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by
Congress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject
to TRIA, do not exceed $5,000,000.




                                                                                                                U-GU-630-D CW (01/15)
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Louisiana Citizens Property Insurance Corporation
2005 Emergency Assessment


The Louisiana legislature established the Louisiana Citizens Property Insurance Corporation to provide insurance to homeowners and
other property owners who cannot find insurance coverage in the private market. Louisiana Citizens Property Insurance Corporation
is permitted by law to fund its deficits through assessments on the private insurance market.
As a result of the 2005 hurricanes, Louisiana Property Insurance Corporation has issued an Emergency Assessment to be applied to all
FAIR Plan assessable insureds. The Emergency Assessment applies to certain property insurance including insurance for fire, allied
lines (including mobile homes), homeowners' multi-peril, and the property insurance portion of the commercial multi-peril policies.
Insurers are required to collect and remit the Emergency Assessment to the Louisiana Citizens Property Insurance Corporation. The
assessment is pro-rated for subsequent premium changes resulting from endorsement and cancellation activity.
The factor applied to this policy as a result of the Louisiana Citizens Property Insurance Corporation Emergency Assessment for new
or renewal policies on or after January 1, 2019 is 2.65%:


2005 LA FAIR Plan Emergency Assessment        2.65%


The emergency assessment is not subject to premium taxes, fees, or commissions.




Payments of the 2005 LA FAIR Plan Emergency Assessment may be refundable.

Information for both individual and business policyholders on how to determine the amount of credit, when the credit can be
claimed, what documents should be filed and the required forms is available online at the web site of the Louisiana
Department of Revenue:

Individual: http://www.revenue.louisiana.gov/Individuals/CitizensInsuranceTaxCredit

Business: http://www.revenue louisiana.gov/Businesses/CitizensInsuranceTaxCredit




                                                                                                               U-GU-741-M LA (01/19)
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Illinois Civil Union Act Policyholder Notice


On June 1, 2011, Public Act 96-1513, the Religious Freedom Protection and Civil Union Act (“the Act”) became
effective. Under the Act, both same-sex and opposite-sex couples may enter into a civil union. A party to a
civil union is entitled to the same legal obligations, responsibilities, protections, and benefits as are afforded or
recognized by the law of Illinois a spouse; whether they derive from statute, administrative rule, common law,
or any other source of civil or criminal law. A marriage between persons of the same sex, a civil union, or a
substantially similar legal relationship other than common law marriage, legally entered into in another
jurisdiction, shall be legally recognized in Illinois as a civil union.


CAUTION: FEDERAL LAW RIGHTS MAY OR MAY NOT BE AVAILABLE:
Illinois law grants parties to a civil union the same benefits, protections and responsibilities that flow from
marriage under state law. However, some or all of the benefits, protections and responsibilities related to
health insurance that are available to married persons under federal law may not be available to parties to a
civil union. For example, the Employee Retirement Income Security Act of 1974, a federal law known as
“ERISA” controls the employer/employee relationship with regard to determining eligibility for enrollment in
private employer health benefit plans. Because of ERISA, Act 91 does not state requirements pertaining to a
private employer’s enrollment of a party to a civil union in an ERISA employee welfare benefit plan. However,
governmental employers (not federal government) are required to provide health benefits to the dependents of
a party to a civil union if the public employer provides health benefits to the dependents of married persons.
Federal law also controls group health insurance continuation rights under “COBRA” for employers with 20 or
more employees as well as the Internal Revenue Code treatment of health insurance premiums. As a result,
parties to a civil union and their families may or may not have access to certain benefits under this policy,
contract, certificate, rider or endorsement that derive from federal law. You are advised to seek expert advice
to determine your rights.




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SANCTIONS EXCLUSION
ENDORSEMENT
THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY

The following exclusion is added to the policy to which it is attached and supersedes any existing sanctions
language in the policy, whether included in an Exclusion Section or otherwise:
SANCTIONS EXCLUSION
Notwithstanding any other terms under this policy, we shall not provide coverage nor will we make any
payments or provide any service or benefit to any insured, beneficiary, or third party who may have any rights
under this policy to the extent that such cover, payment, service, benefit, or any business or activity of the
insured would violate applicable trade or economic sanctions listed by the Office of Foreign Assets Control of
(OFAC) of the US Department of Treasury. OFAC maintains a list of Specially Designated Nationals and
Blocked Persons.

If an insured or claimant appears on the list or otherwise is determined to have violated a sanction imposed by
U.S. law, the policy will be considered blocked; and
If the policy is blocked, we will not pay any benefits or refund premiums without authorization from OFAC.

The term policy may be comprised of common policy terms and conditions, the declarations, notices, schedule,
coverage parts, insuring agreement, application, enrollment form, and endorsements or riders, if any, for each
coverage provided. Policy may also be referred to as contract or agreement.

We may be referred to as insurer, underwriter, we, us, and our, or as otherwise defined in the policy, and shall
mean the company providing the coverage.

Insured may be referred to as policyholder, named insured, covered person, additional insured or claimant, or
as otherwise defined in the policy, and shall mean the party, person or entity having defined rights under the
policy.

These definitions may be found in various parts of the policy and any applicable riders or endorsements.

ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED




                                                                                            U-GU-1191-A MD (03/15)
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                                                                                                    9
Property Declarations                                                                         ZURICH


                                                   Policy Number
                                                  PPR 3700638-17

                                        Named Insured and Mailing Address
                                        MARRIOTT INTERNATIONAL, INC.
                                            10400 FERNWOOD ROAD
                                                  DEPT. 52/924.36
                                              BETHESDA, MD 20817


The following are all hereafter referred to as the Insured including legal representatives.


                                              The Named Insured; and
Any subsidiary of the Named Insured, the Named Insured's interest in any partnership, joint venture, or other
legal entity in which the Named Insured has management control or ownership as now constituted or may
hereafter be constituted or acquired.


The inclusion of more than one (1) Insured under this Policy will not operate to increase the total limit of
insurance beyond the total limit of insurance stated in this Policy.


                                   The Stock Company (providing insurance)


                                  ZURICH AMERICAN INSURANCE COMPANY
                                             SCHAUMBURG, IL 60196


                                                       Producer
                                                 MARSH USA, INC
                                        1050 CONNECTICUT AVENUE NW
                                                       SUITE 700
                                            WASHINGTON, DC 20036



                                                   Policy Period
            Coverage begins 4/01/2019 at 12:01 AM.                Coverage ends 4/01/2020 at 12:01 AM.


                                                Insuring Agreement


In consideration for the premium charged and subject to all the terms and conditions, this Policy insures the
Named Insured (hereinafter called the Insured) during the Policy Period and for an amount not exceeding its
proportionate share of the Limit(s) of insurance specified in the forms and endorsements attached.


Insurance provided under this policy applies to loss or damage caused by or resulting from risks of direct
physical loss of or damage from any external cause to covered property occurring at a premises described
within the Territory of the policy, unless excluded.




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                                   Forms Applicable to This Policy


  Form Name                                                  Form Number   Edition Date


MANUSCRIPT POLICY FORM
Important Notice – In Witness Clause                      U-GU-319-F        01/09
Disclosure of Important Information Relating to TRIA      U-GU-630-D        01/15
Louisiana Citizens Property Insurance Corp.
2005 Emergency Assessment                                 U-GU-741-L        01/19
Illinois Civil Union Act Policyholder Notice              U-GU-1110-B       10/11
Sanctions Exclusion Endorsement                           U-GU-1191-A MD    03/15
Property Insurance Policy Cover                           U-CP-MAN-Cover    11/17
Property Declarations                                     U-CP-D-MAN        11/17
Revised Definition of Spouse Endorsement                  U-GU-1223-B-CA    09/16
International Property Endorsement                        N/A               N/A
Exclusion of Loss Resulting from Certified Acts of
Terrorism with Exceptions and Sub-Limits                  U-GU-685-C        01/15
Multiple Policies Endorsement                             N/A               N/A
Amendatory Endorsement – Puerto Rico                      UGU 1000-A        06/09
Fine Arts Underlying Coverage Endorsement                 N/A               N/A
Named Windstorm Deductible Endorsement                    N/A               N/A




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PARTICIPATION PAGE




As stipulated in DECLARATIONS Paragraph 7, PARTICIPATION - Section 7. A and 7.B, this
Company's Limit of Liability under this Policy will not exceed its proportion of the Limits of Liability
as Stipulated in Paragraph 8 of this policy nor the Company's specific participation in the
respective layer as follows:




PARTICIPATION 7.B
Insurer                Policy No.              Layer                    Insurer           Signature
                                                                        Participation
Zurich American                                $200,000,000             100%
Insurance
Company
Zurich American                                $300,000,000             6.5%
Insurance                                      excess of
Company                                        $200,000,000
                                               excluding Earth
                                               Movement in the
                                               state of California
Zurich American                                $300,000,000             93.5%
Insurance                                      excess of
Company                                        $200,000,000
Zurich American                                $1,000,000,000           100%
Insurance                                      excess of
Company                                        $500,000,000




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                                      DECLARATIONS - SECTION A

1.     NAMED INSURED

       Marriott International, Inc. and any subsidiary, associated or allied company, corporation,
       firm, organization, and Marriott International, Inc.’s interest in any partnership or joint venture
       in which Marriott International, Inc. has management control or ownership as now constituted
       or hereafter is acquired, as the respective interest of each may appear; all hereafter referred
       to as the “Insured”, including legal representatives.

       Further, at the option of Marriott International, Inc., the interests of third-party franchisees and
       licensees as respects franchised hotel locations shall also be covered under this policy
       subject to the terms and conditions specified herein.

2.     MAILING ADDRESS

       Marriott International, Inc.
       10400 Fernwood Road
       Dept. 52/924.36
       Bethesda, MD 20817

3.     POLICY DATES

         FROM:           1 April 2019 at 12:01am Local Standard Time at the location of the property
                         insured
         TO:             1 April 2020 at 12:01am Local Standard Time at the location of the property
                         insured

         The actual effective time of attachment of this insurance on the above date shall be the
         same time as the actual effective time of cancellation or expiration of policie(ies) replaced
         or renewed by this policy.

4.     TERRITORY

       This Policy covers Insured Locations worldwide except for loss or damage in the following
       countries:

       Cuba, Iran, Iraq, Kampuchea (Cambodia) and North Korea or any other country where trade
       relations are unlawful as determined by the Government of the United States of America.

       Notwithstanding any other terms under this policy, this Company shall not be deemed to
       provide coverage nor will this Company make any payments or provide any service or
       benefit to any insured, mortgagee, loss payee or beneficiary under this policy to the extent
       that such cover, payment, service, benefit, or any business or activity of the insured would
       violate any applicable trade or economic sanctions law or regulation.

5.     INSURED LOCATION

        A.     The coverages under this Policy apply to an Insured Location in the policy Territory
               unless otherwise provided.

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               Insured Location is a location:

               1) listed on a schedule on file with this Company.

               2) covered as a Miscellaneous Unnamed Location. Any locations of the Insured
                  which do not appear on the schedule on file with this Company shall be considered
                  a Miscellaneous Unnamed Location.

               3) covered under the terms and conditions of the Automatic Coverage or Errors and
                  Omissions provisions.

        B.     References and Application. The following term(s) wherever used in this Policy
               means:

               1) Location:

                      a) as specified in the schedule of locations, except for Miscellaneous Unnamed
                         Locations; or

                      b) if not so specified or if a Miscellaneous Unnamed Location, a building, yard,
                         dock, wharf, pier, jetty, or bulkhead (or any group of the foregoing) bounded on
                         all sides by public streets, clear land space or open waterways, each not less
                         than fifty feet wide. Any bridge or tunnel crossing such street, space or
                         waterway will render such separation inoperative for the purpose of this
                         References and Application.

6.     CURRENCY

        All amounts, including deductibles and limits of liability, indicated in this Policy are in the
        currency of the United States of America, except for Insured Locations in Canada where
        such amounts will be in Canadian currency. Losses will be adjusted and paid as provided in
        the CURRENCY FOR LOSS PAYMENT clause of the LOSS ADJUSTMENT AND
        SETTLEMENT section.


7.     PARTICIPATION

       This policy covers for a 100 percent interest in this insurance, and this Company shall not be
       liable for more than 100 percent of the limits of liability set forth herein.


8.     PROGRAM LIMITS OF LIABILITY

        The Company’s maximum limit of liability in a single OCCURRENCE regardless of the
        number of Locations or coverages involved will not exceed its proportion of the program limit
        of liability of $1,500,000,000. When a limit of liability for a Location or other specified
        property is shown, such limit will be the maximum amount payable for any loss or damage
        arising from direct physical loss or damage at such Location or involving such other
        specified property.


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        If a lesser limit of liability is stated below or elsewhere in this Policy, the lesser limit will
        apply. The limits of liability stated below or elsewhere in this Policy are part of and not in
        addition to the Policy limit of liability.

        Limits of Liability stated below apply in the aggregate per OCCURRENCE for all Locations
        and coverages involved.

        When a limit of liability is shown as applying in the Aggregate during Any Policy Year, the
        Company’s maximum limit of liability will not exceed such limit during any policy year
        regardless of the number of locations and coverages involved.

        Sublimits of Liability are as follows:

               Program Limits of
               Liability

               $ 500,000,000           FLOOD per OCCURRENCE and in the Aggregate during Any
                                       Policy Year, excluding storm surge and FLOOD as respects Named
                                       Windstorm not to exceed $500,000,000 limit per OCCURRENCE
                                       and in the Aggregate during Any Policy Year for FLOOD at
                                       locations scheduled in Appendix E, and $ 50,000,000 limit per
                                       OCCURRENCE and in the Aggregate during Any Policy year for
                                       FLOOD in the Netherlands;
                                       EARTH MOVEMENT per OCCURRENCE and in the Aggregate
                                       during Any Policy Year but not to exceed $500,000,000 limit per
                                       OCCURRENCE and in the Aggregate during Any Policy Year for
                                       EARTH MOVEMENT in California, and $150,000,000 limit per
                                       OCCURRENCE and in the Aggregate during Any Policy Year for
                                       EARTH MOVEMENT in Japan;
                                       NAMED WINDSTORM including storm surge and FLOOD resulting
                                       from NAMED WINDSTORM per OCCURRENCE
                                       Debris Removal (or 25% of the amount of direct physical loss or
                                       damage and Time Element loss payable at the location, whichever
                                       is greater);
               $ 250,000,000           Automatic Coverage, subject to 120 days reporting, after which a
                                       $150,000,000 sublimit applies if the location is not reported;
                                       Service Interruption – Property Damage and Time Element
                                       combined;
               $ 200,000,000           Accounts Receivable;
               applies to each of      Contingent Time Element;
               the following:          Expediting Expense;
                                       Extra Expense
               $ 150,000,000           Deferred Payments;
               applies to each of      Errors and Omissions;
               the following:          Leasehold Interest;
                                       Miscellaneous Unnamed Locations;
                                       Mold, Wet or Dry Rot, as a result of direct physical damage not
                                       otherwise excluded;



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               $ 100,000,000
               applies to each of    Landscaping Improvements;
               the following:


               $ 50,000,000          Debt Restructuring;


               $ 25,000,000          Fine Arts;
               applies to each of    Professional Fees;
               the following:        Soft Costs;
                                     Transit, except $ 1,000,000 for Transit Time Element losses;

               $ 5,000,000 applies   Guest Rebates, per OCCURRENCE and in the Aggregate during
               to each of the        Any Policy Year;
               following:            Land and Water Contaminant Or Pollutant Cleanup, Removal and
                                     Disposal (OCCURRENCE and in the Annual Aggregate);
                                     Property of Others/Guest Property, per OCCURRENCE and in the
                                     Aggregate during Any Policy Year;
                                     Walked Guests;



               $2,500,000            Cancellation of Bookings; but not to exceed $2,500,000 in the
                                     Aggregate during any policy year excess of $2,500,000 per
                                     Occurrence and Annual Aggregate as outlined in PARTICIPATION
                                     PAGE, CANCELLATION OF BOOKINGS PARTICIPATION 7.C




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               Time Limits

               In addition to the time limits shown elsewhere in this Policy, the following apply:
               365 day period:         EXTENDED PERIOD OF LIABILITY

               365 day period          DOWNZONING TIME ELEMENT

               365 day period:         CANCELLATION OF BOOKINGS

               120 day period:         AUTOMATIC COVERAGE

               90 day period:          ORDINARY PAYROLL

               90 day period:          INGRESS/EGRESS –15 Statute Miles

               90 day period:          INTERRUPTION BY CIVIL OR MILITARY AUTHORITY – 15
                                       Statute Miles

        Each time limit shown above is not to exceed the applicable limit of liability shown in the
        Limits of Liability section.

9.     PREMIUM

       This Policy is issued in consideration of an initial premium. If the term of this Policy is longer
       than one year, for each subsequent year of coverage, premium will be due at the anniversary
       and will be subject to rules and rates in effect at that time.

10. PREMIUM PAYABLE

       Marriott International, Inc. pays the premium under this Policy, and any return of the paid
       premium accruing under this Policy will be paid to the account of Marriott International, Inc.

11. ADJUSTMENT OF PREMIUM

       The premiums for this policy were negotiated based on rates in effect at the time the policy
       was issued. On each renewal, continuation, or anniversary of the effective date of this policy,
       premiums may be negotiated in accordance with rates in effect at that time.

12. VALUE REPORTING PROVISIONS

        The Insured will provide the Company 100% values by location.

        These statement(s) of values are due no later than sixty (60) days from the due date(s)
        shown below.

        Values as Of             Due Date               Type of Values

         1 April                 1 April                Property values in accordance with the
                                                        VALUATION clause of the LOSS


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                                                     ADJUSTMENT AND SETTLEMENT section.

         1 April               1 April               Time Element values anticipated for the 12
                                                     months following the “Value as Of” date, and
                                                     the actual Time Element values for the
                                                     previous 12 month period.
13. WAITING PERIOD

        For the purposes of applying SERVICE INTERRUPTION – TIME ELEMENT Coverage, the
        Waiting Period is eight (8) hours. The Company will not be liable for any loss or damage
        unless the period of interruption of service exceeds the specified WAITING PERIOD and
        then such potential liability shall be adjusted per the terms and conditions of the policy.

14. DEDUCTIBLES

       Subject to the Participation provisions as stated in clause 7 above, in each case of loss
       covered by this Policy, the Company will be liable only if the Insured sustains a loss in a
       single OCCURRENCE greater than the applicable deductible specified below, and only for
       its share of that greater amount.

       Unless otherwise stated below:

       A. When this Policy insures more than one location, the deductible will apply against the
          total loss covered by this Policy in any one OCCURRENCE.

       B. If two or more deductibles provided in this Policy apply to a single OCCURRENCE, the
          total to be deducted will not exceed the largest deductible applicable, unless otherwise
          provided.

       C. In any occurrence where loss or damage is caused by more than one peril insured
          against under this policy, the Insured shall have the right to separate the loss amount by
          peril for the purposes of application of the deductible(s) specified in this section,
          notwithstanding the above reference to two or more deductibles and the policy limits.


       Policy Deduct
       ible(s)

       $ 25,000 Combined Property Damage/Time Element per OCCURRENCE, except as noted
       below:

       Exceptions to Policy Deductible(s)

       A. $ 100,000 Combined Property Damage/Time Element per OCCURRENCE for Gaylord
          hotels,

       B. $ 10,000 Combined Property Damage/Time Element per OCCURRENCE for locations
          outside the United States, its territories and possessions,




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       C. $10,000 Combined Property Damage/Time Element per residential or condominium unit
          not to exceed $25,000 per OCCURRENCE, however, this deductible shall not apply to
          water damage.

       D. For locations during the course of construction prior to securing a certificate of
          occupancy:

           -      $ 25,000 combined all coverage (except $10,000 for locations outside the United
                  States, its territories and possessions) if the total reported values of the property
                  under construction, upon completion, will be less than $ 50,000,000,
                  $ 100,000 combined all coverages if the total reported values of the property under
                  construction, upon completion, will be between $ 50,000,001 and $ 100,000,000,
           -      $ 250,000 combined all coverages if the total reported values of the property under
                  construction, upon completion, will be more than $ 100,000,000.

         As respects course of construction at hotels in operation, the deductible listed in this
         Paragraph 14.D. only applies to the portion of the building or location that is not certified for
         occupancy.

       E. For the Peril of FLOOD, excluding FLOOD as respects Named Windstorm and excluding
          storm surge:

                  If direct physical loss or direct physical damage by fire, explosion, sprinkler leakage
                  or water damage results, such resulting loss or damage, not otherwise excluded
                  herein, shall not be subject to the following deductibles. Instead the deductible
                  specified for the cause of such resulting loss or damage shall apply.

           1.     For locations in Venice, Italy and Florence, Italy.and


                      5% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      5% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

                      The above deductibles are subject to a minimum of $ 1,000,000 combined for
                      Property Damage and Time Element per OCCURRENCE – regardless of the
                      number of Buildings involved.


           2.     For Locations per Appendix E:

                      2% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      2% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the


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                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

                      The above deductibles are subject to a minimum of $ 500,000 combined for
                      Property Damage and Time Element per OCCURRENCE – regardless of the
                      number of Buildings involved.

           3.     For all other locations in Aruba, Barbados, Dominican Republic, Hawaii, Jamaica,
                  Cancun Mexico, Puerto Vallarta Mexico, Puerto Rico, U.S. Virgin Islands, St. Kitts &
                  Nevis, Trinidad & Tobago and
                              :

                      2% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      2% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

                      The above deductibles are subject to a minimum of $ 500,000 combined for
                      Property Damage and Time Element per OCCURRENCE – regardless of the
                      number of Buildings involved.

           4.     All other locations $100,000 per occurrence.


           In the event that the Insured maintains underlying insurance through the National Flood
           Insurance Program, it is agreed that this policy excludes the peril of flood to the extent of
           recovery under such National Flood Insurance Policy(s). Should the amount of loss
           payable under such National Flood Insurance Policy(s) exceed the applicable flood
           deductible under this policy, then no deductible shall apply hereunder. However, if the
           amount to be paid under such National Flood Insurance Policy(s) is less than the
           applicable flood deductible under this policy, then the amount to be deducted hereunder
           shall not exceed the difference between the amount to be paid under the Insured's
           National Flood Insurance Policy(s) and the applicable flood deductible under this policy.
           Insurance maintained through the National Flood Insurance Program shall be considered
           Underlying Insurance.

       D. For the Peril of Earthquake:

           If direct physical loss or direct physical damage by fire, explosion, sprinkler leakage or
           water damage results, such resulting loss or damage, not otherwise excluded herein,
           shall not be subject to the following deductibles. Instead the deductible specified for the
           cause of such resulting loss or damage shall apply.

           1. For Locations in the state of California, Japan and Turkey:

                      5% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.


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                      5% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

              2. For Locations in Hawaii (excluding the Island of Hawaii) Alaska, Mexico, Chile,
                 Costa Rica, Puerto Rico, El Salvador, Ethiopia, Greece, Israel and Italy and Newly
                 Added/Acquired Locations as stipulated in Appendix F:

                      3% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      3% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues

           3. For Locations in the New Madrid Seismic zone, Pacific Northwest Seismic zone (per
              Appendix A), the Island of Hawaii:

                      1% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      1% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

           The above deductibles are subject to a minimum of $ 250,000 combined for Property
           Damage and Time Element per OCCURRENCE – regardless of the number of Buildings
           involved.

           4. All other locations $100,000 per occurrence.

       E. For the Peril of Named Windstorm, including FLOOD resulting from a Named Windstorm
          and storm surge:

           1.     For Puerto Rico, Dominican Republic, USVI, Florida locations per Appendix D, and
                  Newly Added/Acquired Locations per Appendix F:

                  5% of the Property Damage values last reported of Buildings and/or Personal
                  Property affected.

                  5% of full 12 month Time Element values that would have been earned in the 12
                  month period following the OCCURRENCE by use of the facilities at the Location
                  where the direct physical damage occurred and all other Locations where Time
                  Element loss ensues.




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                  The above deductibles are subject to a minimum of $ 1,000,000 combined for
                  Property Damage and Time Element per OCCURRENCE – regardless of the
                  number of Buildings involved.

           2.     For locations in Jamaica, St. Kitts & Nevis, Cancun Mexico, Puerto Vallarta Mexico,
                  and Tier 1 as described in Appendix B, except Florida locations noted in Appendix D
                  above:

                      3% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      3% of full 12 month Time Element values that would have been earned in the
                      12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

                      The above deductibles are subject to a minimum of $ 250,000 combined for
                      Property Damage and Time Element per OCCURRENCE – regardless of the
                      number of Buildings involved.

           3.     For locations in Tier 2 counties as described in Appendix B:

                      2% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      2% of full 12 month Time Element values that would have been earned in the
                      12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

                      The above deductibles are subject to a minimum of $ 250,000 combined for
                      Property Damage and Time Element per OCCURRENCE – regardless of the
                      number of Buildings involved.


           4.     For locations in Aruba, Barbados, Hawaii, Costa Rica, Thailand, and Trinidad and
                  Tobago and specific locations listed in Appendix C:

                      1% of the Property Damage values last reported of Buildings and/or Personal
                      Property affected.

                      1% of the full 12 month Time Element values that would have been earned in
                      the 12 month period following the OCCURRENCE by use of the facilities at the
                      Location where the direct physical damage occurred and all other Locations
                      where Time Element loss ensues.

                      The above deductibles are subject to a minimum of $ 250,000 combined for
                      Property Damage and Time Element per OCCURRENCE – regardless of the
                      number of Buildings involved.




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             5. All other locations $100,000 per occurrence.



        F.   $100,000 per OCCURRENCE combined as respects PROTECTION AND
             PRESERVATION OF PROPERTY and WALKED GUESTS as stipulated in PROPERTY
             DAMAGE SECTION B Paragraph 4.W and TIME ELEMENT SECTION C, Paragraph L
             2), respectively.



        G. $100,000 per LOCATION per OCCURRENCE as respects CANCELLATION OF
           BOOKINGS.


        H.




              Definition of Named Windstorm:


              Named Windstorm shall mean a storm or weather condition that:

                          1 . has sustained wind speeds of at least 74 miles per hour;
                          and
                          2. has been declared by the U.S. National Weather Service or foreign
                             equivalent to be a hurricane, typhoon, tropical storm or cyclone.


              Such storm or weather condition shall be considered to be a Named Windstorm:


              (i) during the period of time that conditions 1. and 2. above are met; and
              (ii) during the 72 hours immediately preceding the time when conditions 1. and 2.
                   above are first met; and
              (iii) during the 72 hours immediately following the time when such storm or weather
                    condition has been downgraded, meaning that the storm or weather conditions no
                      longer has sustained wind speeds of at least 74 miles per hour and the storm or
                  weather condition is no longer considered by the U.S. National Weather Service to
                      be a hurricane, typhoon, tropical storm, or cyclone.



15.    EXCESS CLAUSE APPLICABLE TO EXCESS POLICIES


       A.     In determining the amount of any loss, damage, or expense for which this policy is
              excess, the total loss for all coverages caused by any combination of perils, one or
              more of which is insured against under the primary policy, shall be used even though all
              such perils or coverages are not insured against under this excess policy.


              (i) Any recoveries made under the primary policy shall be considered as first applying
                  to those perils and/or property and/or coverages not insured against by this policy.
                      Upon exhaustion of the primary policy limits, this policy shall apply in excess of the




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                  amount attributable to the primary policy as respects those perils and/or coverages
                  and/or property insured hereunder subject to the limit of this policy.

              (ii) If there is any other excess insurance covering the perils and/or property and/or
                   coverages insured against in the primary policy, but not covered by this policy, this
                   insurance shall then allocate any loss recoveries made under the primary policy in
                   the same proportion as the amount of loss involving the property and/or coverages
                   insured against by this policy bears to the combined total loss. Upon exhaustion of
                   the primary policy limits, this policy shall apply in excess of the amount attributed to
                   the primary policy as respects those perils and/or property and/or coverages
                   covered hereunder subject to the limit of this policy.

              (iii) Paragraph ii above shall not apply, however, when the amount of loss attributed to
                    the perils insured under the primary policy, but not covered under this policy,
                    exceed the total amount of insurance provided by the primary and excess
                    coverages with respect to said perils. In this situation any recoveries made under
                    the primary policy shall first apply to those perils not insured against by this policy.
                    Upon exhaustion of the primary policy limits, this policy shall apply in excess of the
                    amount attributed to the primary policy as respects those perils covered hereunder
                    subject to the limit of this policy.

          B. In the event the annual aggregate limits provided for Flood and/or Earth Movement in
             any underlying insurance are diminished or exhausted in any one policy year, the
             coverage provided under this policy shall respond as excess of the remaining limits.

               In such event, the applicable amount of the deductible provision of the primary policy
               shall apply to the combination of all policies.




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                                PROPERTY DAMAGE - SECTION B

1.     PROPERTY INSURED

       This Policy insures the following property, unless otherwise excluded elsewhere in this
       Policy, located at an Insured Location or within 1,000 feet thereof, to the extent of the interest
       of the Insured in such property.

       A.      Real Property, including new buildings and additions under construction at an Insured
               Location, in which the Insured has an insurable interest, including where the insured is
               under legal or contractual obligation to keep insured for direct physical loss or damage.

       B.      Personal Property:

               1) owned by the Insured, including the Insured’s interest as a tenant in improvements
                  and betterments. In the event of direct physical loss or damage, the Company
                  agrees to accept and consider the Insured as sole and unconditional owner of
                  improvements and betterments, notwithstanding any contract or lease to the
                  contrary.

               2) of officers and employees of the Insured.

               3) of others in the Insured's custody to the extent the Insured is under legal or
                  contractual obligation prior to loss to keep insured for direct physical loss or
                  damage insured by this Policy.

               4) of others in the Insured's custody to the extent of the Insured's legal liability for
                  direct physical loss or damage as insured against to Personal Property. The
                  Company will defend that portion of any suit against the Insured that alleges such
                  liability and seeks damages for such insured direct physical loss or damage. The
                  Company may, without prejudice, investigate, negotiate and settle any claim or suit
                  as the Company deems expedient.

               5) of others in the Insured’s custody, to the extent the Insured is under obligation to
                  keep insured for physical loss or damage insured under this Policy, not at a
                  Location while anywhere within this Policy’s TERRITORY, including while in transit.

       C.      Guest Property

               1) This policy covers Personal Property of Guests, not otherwise excluded by this
                  policy, belonging to a registered hotel guest(s) while on the premises of any
                  insured location under this policy.

       This Policy also insures the interest of contractors and subcontractors in insured property
       during construction at an Insured Location or within 1,000 feet thereof, to the extent of the
       Insured’s legal liability for insured direct physical loss or damage to such property. Such
       interest of contractors and subcontractors is limited to the property for which they have been
       hired to perform work and such interest will not extend to any TIME ELEMENT coverage
       provided under this Policy.


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2.     PROPERTY EXCLUDED

       This Policy excludes:

       A.      currency, money, precious metal in bullion form, notes, or securities.

       B.      land, water or any other substance in or on land; except this exclusion does not apply
               to:

               1) landscaping improvements consisting of landscape gardening, roadways and
                  pavements, but not including any fill or land beneath such property.

               2) water that is contained within any enclosed tank, piping system or any other
                  processing equipment.

       C.      animals, unless contained within an enclosure, cage, or tank and as a result of
               physical damage not otherwise excluded; standing timber, growing crops.

       D.      watercraft greater than twenty (20) feet in length while at an insured location, or
               aircraft, except when unfueled and manufactured by the Insured.

       E.      vehicles of officers and employees of the Insured or vehicles otherwise insured for
               physical loss or damage.

       F.      underground mines or mine shafts or caverns or any property within such mine, shaft
               or cavern.

       G.      dams and dikes; unless part of landscaping improvements.

       H.      property in transit, except as otherwise provided by this Policy.

       I.      property sold by the Insured under conditional sale, trust agreement, installment plan
               or other deferred payment plan after delivery to customers except as provided by the
               DEFERRED PAYMENTS coverage of this Policy.

       J.      Electronic data, programs and software, except when they are stock in process,
               finished goods manufactured by the Insured, raw materials, supplies or other
               merchandise not manufactured by the Insured.

       K.      Contraband or property in the course of illegal transportation or trade.

       L.      Losses arising from the peril of Earthquake for the Anaheim Marriott.

       M.      Satellites and Spacecraft after time of launch.

       N.      Property damage to transmission and distribution lines situated beyond 1,000 feet of
               the described premises.




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3.     PERILS INSURED AGAINST

       This Policy covers property, as described in this Policy, against all risks of direct physical loss
       or damage, except as hereinafter excluded, while located as described in this Policy
       occurring during the policy period.

4.     ADDITIONAL COVERAGES

       This Policy includes the following Additional Coverages for direct physical loss or damage
       insured by this Policy.

       These Additional Coverages:

       1)      are subject to the applicable limit of liability;

       2)      will not increase the Policy limit of liability; and

       3)      are subject to the Policy provisions, including applicable exclusions and deductibles,

       all as shown in this section and elsewhere in this Policy.

       A.      ACCOUNTS RECEIVABLE

               This Policy covers any shortage in the collection of accounts receivable, resulting from
               insured direct physical loss or damage to accounts receivable records, including
               accounts receivable records stored as electronic data, while anywhere within this
               Policy's TERRITORY, including while in transit. The Company will be liable for the
               interest charges on any loan to offset impaired collections pending repayment of such
               sum uncollectible as the result of such loss or damage. Unearned interest and service
               charges on deferred payment accounts and normal credit losses on bad debts will be
               deducted in determining the recovery.

               1) In the event of loss to accounts receivable records, the Insured will use all
                  reasonable efforts, including legal action, if necessary, to effect collection of
                  outstanding accounts receivable.

               2) The Insured agrees to use any suitable property or service:

                      a) owned or controlled by the Insured; or

                      b) obtainable from other sources,

                      in reducing the loss under this Additional Coverage.

               3) This Policy covers any other necessary and reasonable costs incurred to reduce
                  the loss, to the extent the losses are reduced.

               4) If it is possible to reconstruct accounts receivable records so that no shortage is
                  sustained, the Company will be liable only for the reasonable and necessary cost


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                      incurred for material and time required to re-establish or reconstruct such records,
                      and not for any costs covered by any other insurance.

               5) ACCOUNTS RECEIVABLE Exclusions: The following exclusions are in addition to
                  the EXCLUSIONS clause of this section:

                      This Additional Coverage does not insure against shortage resulting from:

                      a) bookkeeping, accounting or billing errors or omissions; or

                      b) (i) alteration, falsification, manipulation; or

                          (ii) concealment, destruction or disposal,

                          of accounts receivable records committed to conceal the wrongful giving,
                          taking, obtaining or withholding of money, securities or other property; but only
                          to the extent of such wrongful giving, taking, obtaining or withholding.

               6) The settlement of loss will be made within 90 days from the date of direct physical
                  loss or damage. All amounts recovered by the Insured on outstanding accounts
                  receivable on the date of loss will belong and be paid to the Company up to the
                  amount of loss paid by the Company. All recoveries exceeding the amount paid
                  will belong to the Insured.

               7) When there is proof that a loss of records of accounts receivable has occurred but
                  the Insured cannot accurately establish the total amount of accounts receivable
                  outstanding as of the date of loss, the amount shall be computed as follows:

                      a. The monthly average of accounts receivable during the last available twelve
                         (12) months, together with collection expenses in excess of normal collection
                         costs and made necessary because of loss or damage, and reasonable
                         expenses incurred in reestablishing records of accounts receivable following
                         loss or damage, shall be adjusted in accordance with the percentage increase
                         or decrease in the twelve (12) months average of monthly gross revenues
                         which may have occurred in the interim.

                      b. The monthly amount of accounts receivable as established above shall be
                         further adjusted in accordance with any demonstrable variance from the
                         average for the particular month in which the loss occurred. Consideration will
                         also be given to the normal fluctuations in the amount of accounts receivable
                         within the fiscal month involved.

       B.      AUTOMATIC COVERAGE

               This Policy covers insured property at any Location rented, leased or purchased by the
               Insured or where the Insured is under legal or contractual obligation to keep insured for
               direct physical loss or damage after the inception date of this Policy. This coverage
               applies from the date of rental, lease or purchase.




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               This Additional Coverage does not apply to property insured in whole or in part by any
               other insurance policy, to the extent covered by such other insurance policy.

               This coverage will apply until whichever of the following occurs first:

                    1) The Location is bound by the Company.

                    2) Agreement is reached that the Location will not be insured under this Policy.

                    3) The Time Limit shown in the LIMITS OF LIABILITY clause in the
                       DECLARATIONS section has been reached. The Time Limit begins on the date
                       of rental, lease or purchase or when the insured becomes legally or
                       contractually obligated to keep insured for direct physical loss or damage.

       C.      BRANDS AND LABELS

               If branded or labeled property insured by this Policy is physically damaged and the
               Company elects to take all or any part of that property, the Insured may at the
               Company’s expense:

               1)     stamp “salvage” on the property or its containers; or

               2)     remove or obliterate the brands or labels,

               In either event, the Insured must relabel such property or its containers to be in
               compliance with any applicable law.

       D.      COINSURANCE DEFICIENCY AND CURRENCY DEVALUATION

               This Policy covers the deficiency in the amount of loss payable under the Insured’s
               locally written admitted primary and/or underlying policy(ies), if any, and its renewals,
               issued by the Company or its representatives, solely as the result of:

               1) the application of a coinsurance (or average) clause; or

               2) official government devaluation of the currency in which the local policy is written,

               for direct physical loss or damage of the type insured under such local policy(ies) to
               property of the type insured under this Policy and not otherwise excluded by this
               Policy.

               The Insured agrees to adjust the Policy values as a result of such devaluation within 30
               days after the date of the currency’s devaluation.

               There is no liability under the terms of this coverage if the Insured is unable to recover
               any loss under such local policy(ies), and its renewals, if such inability is the result of
               intentional underinsurance by the Insured.

       E.      CONSEQUENTIAL REDUCTION IN VALUE



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               This policy covers the reduction in value or cost to replace undamaged insured articles
               that are part of pairs or sets, including components or parts of similar inventory-type
               property and including furnishings, fixtures and equipment of a uniform design scheme
               or merchandise usually sold by lots, sizes, color ranges or other classifications, when
               such reduction in value, replacement or repair results from physical loss, damage or
               destruction of other insured articles, components or parts of such property including
               furnishings, fixtures, or equipment of a uniform design scheme by a peril insured by
               this Policy.

               In the event of such physical loss, damage or destruction, the measure of recovery for
               such articles shall be, at the Insured’s option:

                  a.      the reduction in value of undamaged insured components or parts of property
                          resulting from physical loss or damage Insured by this Policy to other insured
                          components or parts of such property; or

                  b.      in the event that more than 75% of the furnishings, fixtures or equipment
                          within a single hotel are damaged or destroyed, the full replacement value of
                          the damaged and undamaged furnishings, fixtures and equipment to maintain
                          a uniform design scheme throughout the hotel.

       F.      CONTROL OF DAMAGED PROPERTY

               This Policy gives control of physically damaged covered property consisting of
               Personal Property of the Insured as follows:

               1) The Insured will have full rights to the possession and control of damaged property
                  in the event of insured direct physical damage to such property provided proper
                  testing is done to show which property is physically damaged.

               2) The Insured using reasonable judgment will decide if the physically damaged
                  property can be reprocessed or sold.

               3) Property so judged by the Insured to be unfit for reprocessing or selling will not be
                  sold or disposed of except by the Insured, or with the Insured’s consent.

               4) Any salvage proceeds received will go to the:

                      a) Company at the time of loss settlement; or

                      b) Insured if received prior to loss settlement and such proceeds will reduce the
                         amount of loss payable accordingly.

               5) The Insured will allow the Company any salvage which is obtained on any sale or
                  other disposition of such damaged property.


       G.      DEBRIS REMOVAL




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               This Policy covers the reasonable and necessary costs incurred to remove debris from
               an Insured Location and of recycling debris that remains as a result of direct physical
               loss or damage insured by this Policy, including the expense of cleaning, sorting,
               separating, segregating and transporting such debris to recycling centers.

               Except as provided under the Land and Water Contaminant or Pollutant Cleanup,
               Removal and Disposal clause of this policy, this Additional Coverage does not cover
               the costs of removal of:

               1) contaminated uninsured property; or

               2) the contaminant in or on uninsured property,

               whether or not the contamination results from insured direct physical loss or damage.
               Contamination includes, but is not limited to, the presence of pollution or hazardous
               material such as Asbestos.

       H.      DECONTAMINATION COSTS

               If insured property is contaminated as a result of direct physical damage insured by
               this Policy and there is in force at the time of the loss any law or ordinance regulating
               contamination, including but not limited to the presence of pollution or hazardous
               material, including Asbestos, then this Policy covers, as a result of enforcement of
               such law or ordinance, the increased cost of decontamination and/or removal of such
               contaminated insured property in a manner to satisfy such law or ordinance. Additional
               Coverage applies only to that part of insured property so contaminated as a result of
               insured physical damage.

       I.      DEFERRED PAYMENTS

               This Policy covers insured direct physical loss or damage to Personal Property of the
               type insured sold by the Insured under a conditional sale or trust agreement or any
               installment or deferred payment plan and after such property has been delivered to the
               buyer. Coverage is limited to the unpaid balance for such property.

               In the event of loss to property sold under deferred payment plans, the Insured will use
               all reasonable efforts, including legal action, if necessary, to effect collection of
               outstanding amounts due or to regain possession of the property.

               There is no liability under this Policy for loss:

               1) pertaining to products recalled including, but not limited to, the costs to recall, test
                  or to advertise such recall by the Insured.

               2) from theft or conversion by the buyer of the property after the buyer has taken
                  possession of such property.

               3) to the extent the buyer continues payments.




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               4) not within the TERRITORY of this Policy.

       J.      DEMOLITION AND INCREASED COST OF CONSTRUCTION

               1) This Policy covers the reasonable and necessary costs incurred, described in item
                  3 below, to satisfy the minimum requirements of the enforcement of any law or
                  ordinance regulating the demolition, construction, repair, replacement or use of
                  buildings or structures at an Insured Location, provided:

                      a) such law or ordinance is in force on the date of insured direct physical loss or
                         damage; and

                      b) its enforcement is a result of such insured direct physical loss or damage.

               2) This Additional Coverage does not cover loss due to any law or ordinance with
                  which the Insured was required to comply had the loss not occurred.

               3) This Additional Coverage, as respects the property insured in item 1 above, covers:

                      a) the cost to repair or rebuild the physically damaged portion of such property
                         with materials and in a manner to satisfy such law or ordinance; and

                      b) the cost:

                               a) to demolish the physically undamaged portion of such property
                                  insured; and

                               b) to rebuild it with materials and in a manner to satisfy such law or
                                  ordinance

                      to the extent that such costs result when the demolition of the physically damaged
                      insured property is required to satisfy such law or ordinance.

               4) This Additional Coverage excludes any costs incurred as a result of enforcement of
                  any laws or ordinances regulating any form of contamination including but not
                  limited to the presence of pollution or hazardous material such as Asbestos.

               5) The Company’s maximum liability for this Additional Coverage at each Insured
                  Location in any OCCURRENCE will not exceed the actual cost incurred in
                  demolishing the physically undamaged portion of the property insured in item 1
                  above plus the lesser of:

                      a) the reasonable and necessary actual cost incurred, excluding the cost of land,
                         in rebuilding on another site; or

                      b) the cost of rebuilding on the same site.

       K.      DIFFERENCE IN CONDITIONS




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       L.      EARTH MOVEMENT


               This Policy covers direct physical loss or damage caused by or resulting from Earth
               Movement.


               This Additional Coverage does not apply to loss or damage caused by or resulting from
               flood; rising waters; waves; tide or tidal water; the release of water; the rising,
               overflowing or breaking of boundaries of natural or man-made bodies of water; or the
               spray therefrom; surface water or sewer back-up resulting from any of the foregoing; all
               regardless of any other cause or event contributing concurrently or in any other
               sequence to the loss.


               1)       References and Application. The following term(s) wherever used in this Policy
                        means:


                        a)   Earth Movement:


                             Any natural or man-made earth movement including, but not limited to
                             earthquake, landslide or subsidence, regardless of any other cause or event
                             contributing concurrently or in any other sequence of loss. However, direct
                             physical damage by fire, explosion or sprinkler leakage or water damage
                             resulting from Earth Movement will not be considered to be loss by Earth



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                          Movement within the terms and conditions of this Policy. All earth movements
                          within a continuous 72 hour period will be considered a single Earth Movement.

       M.      ERRORS AND OMISSIONS

               If direct physical loss or damage is not payable under this Policy solely due to an error
               or unintentional omission:

               1) in the description of where insured property is physically located;

               2) to include any Location:

                      a) owned, rented or leased by the Insured on the effective date of this Policy; or

                      b) purchased, rented or leased by the Insured during the term of this Policy; or

                      c) where the insured is or becomes legally or contractually obligated to keep
                         insured for direct physical loss or damage on the effective date of this policy
                         including the term of this policy.

               3) that results in cancellation of the property insured under this Policy;

               this Policy covers such direct physical loss or damage, to the extent it would have
               provided coverage had such error or unintentional omission not been made.

               It is a condition of this Additional Coverage that any error or unintentional omission be
               reported by the Insured to the Company when discovered and corrected.

       N.      EXPEDITING COSTS

               This Policy covers the reasonable and necessary costs incurred to pay for the
               temporary repair of insured damage to insured property and to expedite the permanent
               repair or replacement of such damaged property.

               This Additional Coverage does not cover costs:

               1) recoverable elsewhere in this Policy; or

               2) of permanent repair or replacement of damaged property.

       O.      FINE ARTS

               This Policy covers insured direct physical loss or damage to Fine Arts articles while
               anywhere within this Policy’s TERRITORY, including while in transit.

               1) This Additional Coverage excludes loss or damage if the Fine Arts cannot be
                  replaced with other of like kind and quality, unless it is specifically declared to the
                  Company.




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               2) FINE ARTS Exclusion: The exclusions in the EXCLUSIONS clause of this section
                  do not apply to FINE ARTS coverage except for A1, A2, A6, B1, B2, B3a, and B4.
                  In addition, as respects FINE ARTS, the following exclusions apply:

                      This Policy does not insure against:

                      a) deterioration, wear and tear or inherent vice.

                      b) loss or damage from any repairing, restoration or retouching process.

               3) References and Application. The following term(s) wherever used in this Policy
                  means:

                      a) Fine Arts:

                         Paintings; etchings; pictures; tapestries; rare or art glass; art glass windows;
                         valuable rugs; statuary; sculptures; antique furniture; antique jewelry; bric-a-
                         brac; porcelains; and similar property of rarity, historical value, or artistic merit
                         excluding automobiles, coins, stamps, furs, jewelry, precious stones, precious
                         metals, watercraft, aircraft, money, securities.

       P.      FLOOD

               This Policy covers direct physical loss or damage caused by or resulting from Flood.

               1) References and Application. The following term(s) wherever used in this Policy
                  means:

                      a) Flood:

                         Flood; rising waters; waves; tsunami; tide or tidal water; the release, the rising,
                         overflowing or breaking of boundaries of natural or manmade bodies of water ;
                         or the spray therefrom; or sewer backup resulting from any of the foregoing;
                         regardless of any other cause or event contributing concurrently or in any other
                         sequence of loss. However, direct physical damage by fire, explosion or
                         sprinkler leakage resulting from Flood is not considered to be loss by Flood
                         within the terms and conditions of this Policy. Storm surge and Flood from
                         Named Windstorm are not considered to be loss by Flood under this policy.

       Q.      LAND AND WATER CONTAMINANT OR POLLUTANT CLEANUP,
               REMOVAL AND DISPOSAL

               This Policy covers the reasonable and necessary cost for the cleanup, removal and
               disposal of contaminants or pollutants from uninsured property consisting of land,
               water or any other substance in or on land at the Insured Location if the release,
               discharge or dispersal of contaminants or pollutants is a result of insured direct
               physical loss or damage to insured property.

               This Policy does not cover the cost to cleanup, remove and dispose of contaminants or
               pollutants from such property:


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               1)     at any location insured for Personal Property only.


               2)     at any property insured under AUTOMATIC COVERAGE, ERRORS AND
                      OMISSIONS or Miscellaneous Unnamed Location coverage provided by this
                      Policy.

               3)     when the Insured fails to give written notice of loss to the Company within 180 days
                      after inception of the loss.


       R.      LANDSCAPING IMPROVEMENTS


                1 ) This policy covers landscaping improvements

                2) This policy does not cover:
                      a)        sand, except golf course sand traps;
                      b)        beach;
                      c)        loss or damage caused by fungus and/or decay;
                      d)        loss or damage caused by sickness and/or any other quality in the
                                landscaping that causes it to damage or destroy itself.


       S.      NEIGHBOUR'S RECOURSE AND TENANT'S LIABILITY




       T.      NON-ADMITTED INCREASED TAX LIABILITY




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       U.      PROFESSIONAL FEES


               This Policy covers the actual costs incurred by the Insured, of reasonable fees payable
               to the Insured's accountants, architects, auditors, engineers, or other professionals
               and the cost of using the Insured's employees, for producing and certifying any
               particulars or details contained in the Insured's books or documents, or such other
               proofs, information or evidence required by the Company resulting from insured loss
               payable under this Policy for which the Company has accepted liability.


               This Additional Coverage will not include the fees and costs of attorneys, public
               adjusters, all including any of their subsidiary, related or associated entities either
               partially or wholly owned by them or retained by them for the purpose of assisting them
               nor the fees and costs of loss consultants who provide consultation on coverage or
               negotiate claims.




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       V.      PROTECTION AND PRESERVATION OF PROPERTY

               This Policy covers:

               1) reasonable and necessary costs incurred for actions to temporarily protect or
                  preserve insured property; provided such actions are necessary due to actual, or to
                  prevent immediately imminent, insured direct physical loss or damage to such
                  insured property.

               2) reasonable and necessary:

                      a) fire department and/or fire fighting charges imposed as a result of responding
                         to a fire in, on or exposing the insured property.

                      b) costs incurred of restoring and recharging fire protection systems following an
                         insured loss.

                      c) costs incurred for the water used for fighting a fire in, on or exposing the
                         insured property.

                      d) Costs incurred to prevent or mitigate damage from a Named Windstorm,
                         however, only if a Named Windstorm is forecast by the U.S. National Weather
                         Service to impact an area that is within 100 statute miles of an Insured Location
                         and within 72 hours of Named Windstorm making landfall. These additional
                         costs shall be subject to the deductible stipulated in Paragraph 14.F of the
                         DECLARATIONS unless physical loss or damage occurs in which case the
                         deductible provisions of the policy will apply.

               With the exception of paragraph d) above, this Additional Coverage is subject to the
               deductible provisions that would have applied had the direct physical loss or damage
               occurred.


       W.      SERVICE INTERRUPTION PROPERTY DAMAGE

               1) This Policy covers insured direct physical loss or damage to insured property at an
                  Insured Location when such direct physical loss or damage results from the
                  interruption of incoming services including but not limited to electricity, gas, fuel,
                  steam, water, refrigeration or from the lack of outgoing sewerage service or from
                  the lack of incoming or outgoing telecommunications service all by reason of direct
                  physical loss or damage of the type insured against to real or personal property of
                  the type covered to the facilities of the supplier of such service located within this
                  Policy's TERRITORY, that immediately prevents in whole or in part the delivery of
                  such usable service.

               2) This Additional Coverage will apply when the Period of Service Interruption is in
                  excess of the time shown as Waiting Period in the WAITING PERIOD clause of the
                  DECLARATIONS section.



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               3) In addition, as respects SERVICE INTERRUPTION coverage the following
                  exclusion applies:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting
                      from the following regardless of any other cause or event, whether or not insured
                      under this Policy, contributing concurrently or in any other sequence to the loss:

                      a) the interruption of usable voice, data or video service as a result of an
                         accidental OCCURRENCE of physical damage to a satellite.

               4) Additional General Provisions:

                      a) The Insured will immediately notify the suppliers of services of any interruption
                         of such services.

                      b) The Company will not be liable if the interruption of such services is caused
                         directly or indirectly by the failure of the Insured to comply with the terms and
                         conditions of any contracts the Insured has for the supply of such specified
                         services.

               5) References and Application. The following term(s) means:

                      a) Period of Service Interruption:

                         The period starting with the time when an interruption of specific services
                         occurs; and ending when with due diligence and dispatch the insured’s normal
                         business operations are fully restored.

       X.      TAX TREATMENT OF PROFITS

               This Policy is extended to cover the increased tax liability from an insured loss at an
               Insured Location if the tax treatment of:

               1) the profit portion of a loss payment under this Policy involving finished stock
                  manufactured by the Insured; and/or

               2) the profit portion of a TIME ELEMENT loss payment under this Policy;

               is greater than the tax treatment of profits that would have been incurred had no loss
               occurred.

       Y.      TEMPORARY REMOVAL OF PROPERTY

               1) When insured property is removed from an Insured Location for the purpose of
                  being repaired or serviced or in order to avoid threatened direct physical loss or
                  damage of the type insured by this Policy, this Policy covers such property:

                      a) while at the location to which such property has been moved; and




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                      b) for direct physical loss or damage as provided at the Insured Location from
                         which such property was removed.

               2) This Additional Coverage does not apply to property:

                      a) insured, in whole or in part, elsewhere in this Policy.

                      b) insured, in whole or in part, by any other insurance policy.

                      c) removed for normal storage, processing or preparation for sale or delivery.

       Z.      TRANSIT

               1) This Policy covers the following Personal Property, except as excluded by this
                  Policy, while in transit within the TERRITORY of this Policy:

                      a) owned by the Insured.

                      b) shipped to customers under F.O.B., C & F or similar terms. The Insured’s
                         contingent interest in such shipments is admitted.

                      c) of others in the actual or constructive custody of the Insured to the extent of the
                         Insured’s interest or legal liability.

                      d) of others sold by the Insured, that the Insured has agreed prior to the loss to
                         insure during course of delivery.

               2) This Additional Coverage excludes:

                      a) samples in the custody of salespeople or selling agents.

                      b) property insured under import or export ocean marine insurance.

                      c) waterborne shipments, unless:

                           (i)     by inland water; or
                           (ii)    by roll-on/roll-off ferries operating between European ports; or
                           (iii)   by coastal shipments.

                      d) airborne shipments unless by regularly scheduled passenger airlines or air
                         freight carriers.

                      e) property of others, including the Insured's legal liability for it, hauled on vehicles
                         owned, leased or operated by the Insured when acting as a common or
                         contract carrier.

                      f)   any transporting vehicle.

                      g) property shipped between continents, except by land or air between Europe
                         and Asia.


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               3) Coverage Attachment and Duration:

                      a) This Additional Coverage covers from the time the property leaves the original
                         point of shipment for transit. It then covers continuously in the due course of
                         transit:

                         (i) within the continent in which the shipment commences until the property
                             arrives at the destination within such continent; or

                         (ii) between Europe and Asia, for land or air shipments only, from when the
                              shipment commences until the property arrives at the destination.

                      b) However, coverage on export shipments not insured under ocean cargo
                         policies ends when the property is loaded on board overseas vessels or
                         aircraft. Coverage on import shipments not insured under ocean cargo policies
                         begins after discharge from overseas vessels or aircraft.

               4) This Additional Coverage:

                      a) covers general average and salvage charges on shipments covered while
                         waterborne.

                      b) insures physical loss or damage caused by or resulting from:

                         (i) unintentional acceptance of fraudulent bills of lading, shipping or messenger
                             receipts.

                         (ii) improper parties having gained possession of property through fraud or
                              deceit.

               5) The exclusions in the EXCLUSIONS clause of this section do not apply to
                  TRANSPORTATION coverage except for A1 through A4, B1 through B4, C1, C3,
                  C5, C6, D1 through D3.

               6) Additional General Provisions:

                      a) This Additional Coverage will not inure directly or indirectly to the benefit of any
                         carrier or bailee.

                      b) The Insured has permission, without prejudicing this insurance, to accept:

                         (i)     ordinary bills of lading used by carriers;

                         (ii)    released bills of lading;

                         (iii)   undervalued bills of lading; and

                         (iv)    shipping or messenger receipts.




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                      c) The Insured may waive subrogation prior to loss against railroads under side
                         track agreements

                      Except as otherwise stated, the Insured will not enter into any special agreement
                      with carriers releasing them from their common law or statutory liability.

       AA. VALUABLE PAPERS AND RECORDS

               This Policy covers insured direct physical loss or damage to VALUABLE PAPERS
               AND RECORDS while anywhere within this Policy's TERRITORY, including while in
               transit.

               1) This Additional Coverage excludes loss or damage to:

                      a) property described below, if such property cannot be replaced with other of like
                         kind and quality, unless specifically declared to the Company.

                      b) currency, money or securities.

                      c) property held as samples or for sale or for delivery after sale.

               2) VALUABLE PAPERS AND RECORDS Exclusions: The exclusions in the
                  EXCLUSIONS clause of this section do not apply to VALUABLE PAPERS AND
                  RECORDS coverage except for A1, A2, A6, B1, B2, B3a and B4. In addition, as
                  respects VALUABLE PAPERS AND RECORDS the following exclusions apply:

                      This Policy does not insure:

                      a) errors or omissions in processing, or copying; all unless direct physical damage
                         not excluded by this Policy results, in which event, only that resulting damage is
                         insured.

                      b) deterioration, inherent vice, vermin or wear and tear; all unless direct physical
                         damage not excluded by this Policy results, in which event, only that resulting
                         damage is insured.

                      c) Against loss resulting from unauthorized instructions to transfer property to any
                         person or to any place.

                      d) Against loss resulting from voluntary parting with any property by the Insured or
                         any associate, proprietor, partner, director, trustee, officer, employee or agent
                         of any Insured if induced to do so by any fraudulent scheme, trick, device or
                         false pretense.

               3) References and Application. The following term(s) wherever used in this Policy
                  means:

                      a) Valuable Papers and Records:




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                          Written, printed or otherwise inscribed documents and records, including
                          books, maps, films, drawings, abstracts, deeds, mortgages and manuscripts,
                          all of which must be of value to the Insured.

       BB. DOWNZONING PROPERTY DAMAGE

               This policy is extended to cover the equivalent of the cost to repair, rebuild, or replace
               Real Property with new materials of like size, kind and quality, any real property which
               must be demolished and may not be rebuilt or cannot be rebuilt with property of like
               kind and quality, height, area, and/or occupancy due to the enforcement of any law,
               ordinance, governmental directive, or standard.

5.     EXCLUSIONS

        The following exclusions apply unless specifically stated elsewhere in this Policy:

        A.     This Policy excludes:

               1) indirect or remote loss or damage.

               2) interruption of business, except to the extent provided by this Policy.

               3) loss of market or loss of use.

               4) loss or damage or deterioration arising from any delay.

               5) mysterious disappearance, loss or shortage disclosed on taking inventory, or any
                  unexplained loss.

               6) loss from enforcement of any law or ordinance:

                      a) regulating the construction, repair, replacement, use or removal, including
                         debris removal, of any property; or

                      b) requiring the demolition of any property, including the cost in removing its
                         debris;

                      except as provided by the DECONTAMINATION COSTS, DEMOLITION AND
                      INCREASED COST OF CONSTRUCTION and DOWNZONING PROPERTY
                      DAMAGE coverages of this section of this Policy.

        B.     This Policy excludes loss or damage directly or indirectly caused by or resulting from
               any of the following regardless of any other cause or event, whether or not insured
               under this Policy, contributing concurrently or in any other sequence to the loss:

               1) nuclear reaction or nuclear radiation or radioactive contamination. However:

                      a) if direct physical damage by fire or sprinkler leakage results, then only that
                         resulting damage is insured; but not including any loss or damage due to
                         nuclear reaction, radiation or radioactive contamination.


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                      b) this Policy does insure direct physical damage directly caused by sudden and
                         accidental radioactive contamination, including resultant radiation damage,
                         from material used or stored or from processes conducted on the Insured
                         Location, provided that on the date of loss, there is neither a nuclear reactor
                         nor any new or used nuclear fuel on the Insured Location.

               2) a) hostile or warlike action in time of peace or war, including action in hindering,
                     combating or defending against an actual, impending or expected attack by
                     any:

                            (i)     government or sovereign power (de jure or de facto);

                            (ii)    military, naval or air force; or

                            (iii)   agent or authority of any party specified in i or ii above.

                      b) discharge, explosion or use of any nuclear device, weapon or material
                         employing or involving nuclear fission, fusion or radioactive force, whether in
                         time of peace or war and regardless of who commits the act.

                      c) insurrection, rebellion, revolution, civil war, usurped power, or action taken by
                         governmental authority in hindering, combating or defending against such an
                         event.

                      d) seizure or destruction under quarantine or custom regulation, or confiscation by
                         order of any governmental or public authority.

                      e) risks of contraband, or illegal transportation or trade.

               3) any dishonest act, including but not limited to theft, committed alone or in collusion
                  with others, at any time:

                      a) by an Insured or any proprietor, partner, director, trustee, officer, associate,
                         agent or employee of an Insured; or

                      b) by any proprietor, partner, director, trustee, or officer of any business or entity
                         (other than a common carrier) engaged by an Insured to do anything in
                         connection with property insured under this Policy.

                  This Policy does insure acts of insured direct physical damage intentionally caused
                  by an employee of an Insured or any individual specified in b above, and done
                  without the knowledge of the Insured. In no event does this Policy cover loss by
                  theft by any individual specified in a or b above.

               4) lack of the following services:

                      a) incoming electricity, fuel, water, gas, steam, refrigerant;




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                      b) outgoing sewarage;

                      c) incoming or outgoing voice, data or video,

                      all when caused by an OCCURRENCE off the Insured location, except as provided
                      in SERVICE INTERRUPTION in the PROPERTY DAMAGE or TIME ELEMENT
                      section of this Policy. But, if the lack of such a service directly causes direct
                      physical damage insured by this Policy on the Insured Location, then only that
                      resulting damage is insured.

        C.     This Policy excludes the following, but, if direct physical damage not excluded by this
               Policy results, then only that resulting damage is insured:

               1) faulty workmanship, material, construction or design from any cause.

               2) loss or damage to stock or material attributable to manufacturing or processing
                  operations while such stock or material is being processed, manufactured, tested,
                  or otherwise worked on.

               3) deterioration, depletion, rust, corrosion or erosion, wear and tear, inherent vice or
                  latent defect.

               4) normal settling, cracking, shrinking, bulging of:

                      a) foundations (including any pedestal, pad, platform or other property supporting
                         machinery).

                      b) floors.

                      c) pavements.

                      d) walls.

                      e) ceilings.

                      f)   roofs.

               5) a) changes of temperature damage (except to machinery or equipment); or

                      b) changes in relative humidity damage,

                      all whether atmospheric or not.

               6) insect, animal or vermin damage, however this exclusion does not apply to cost of
                  bed bug elimination services, treating bed bug-infested Real or Personal Property,,
                  or the replacement of Real or Personal Property that has been infested by bed
                  bugs. The most this policy will pay in any one policy year for the elimination,
                  treatment or replacement of Real or Personal Property that has been infested by
                  bed bugs is $1,000,000.




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        D.     This Policy excludes the following unless directly resulting from other direct physical
               damage not excluded by this Policy:

               1) contamination including but not limited to the presence of pollution or hazardous
                  material.

               2) shrinkage.

               3) changes in color, flavor, texture or finish.

               4) mold, wet or dry rot.




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                                    TIME ELEMENT - SECTION C

1.      LOSS INSURED

        A.     This Policy insures TIME ELEMENT loss, as provided in the TIME ELEMENT
               COVERAGES, directly resulting from direct physical loss or damage of the type
               insured by this Policy:

               1) to property described elsewhere in this Policy and not otherwise excluded by this
                  Policy or otherwise limited in the TIME ELEMENT COVERAGES below;

               2) used by the Insured, or for which the Insured has contracted use;

               3) located at an Insured Location; or

               4) while in transit, as provided by this Policy, and

               5) during the Periods of Liability described in this section.

        B.     This Policy insures TIME ELEMENT loss only to the extent it cannot be reduced
               through:

               1) the use of any property or service owned or controlled by the Insured;

               2) the use of any property or service obtainable from other sources;

               3) working extra time or overtime; or

               4) the use of inventory,

               all whether at an Insured Location or at any other location.

               The Time Element loss sustained by each financially independent Insured under this
               Policy shall be determined based on the separate operating results of each such
               separate financially independent Insured.

        C.     This Policy covers expenses reasonably and necessarily incurred by the Insured to
               reduce the loss otherwise payable under this section of this Policy. The amount of
               such recoverable expenses will not exceed the amount by which the loss has been
               reduced.

        D.     Except as respects LEASEHOLD INTEREST, in determining the amount of loss
               payable, the Company will consider the experience of the business before and after
               and the probable experience during the PERIOD OF LIABILITY.




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2.      TIME ELEMENT COVERAGES

A.      BUSINESS INTERRUPTION

        1) Measurement of Loss:

            a) The recoverable BUSINESS INTERRUPTION loss is the Actual Loss Sustained by
               the Insured of the following during the PERIOD OF LIABILITY:

                      (i)   Net Profit, before deducting income taxes, which is not earned as a direct
                            result of the interruption of production or suspension of business operations
                            or services; and

                      (ii) Fixed Charges, including:

                            (a) administrative expenses, interest on fixed indebtedness, advertising,
                                taxes other than income taxes, insurance;

                            (b) salaries or wages of officers and employees whose services must
                                necessarily be continued or who are employed under contracts
                                guaranteeing annual compensation;

                            (c) vacation, holiday and sick leave pay;

                            (d) expense of heat, light, and power, selling expenses of the plant and
                                branch stores when chargeable to the plant; and

                            (e) any other item that contributes to the Insured’s overhead expense as a
                                whole,

                            all to the extent that these charges continue following the loss and would
                            have been earned had no such interruption happened.

                      (iii) ORDINARY PAYROLL , including taxes and charges dependent on the
                            payment of wages:

                              a) only to the extent that such payroll continues following the loss and
                                 would have been earned had no such interruption happened.

                            However, if an Insured reduces the daily loss payable under Ordinary
                            Payroll, either by:

                              a) providing gainful employment for, or

                              b) paying less than the normal salary rate to,

                            all or part of its employees, the number of consecutive days of Ordinary
                            Payroll may be extended. However, this provision will not increase the total




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                            liability of this Company beyond the amount it would have been liable for
                            Ordinary Payroll costs without this provision. Ordinary Payroll does not
                            cover any portion of salaries or wages included in Net Profit or Fixed
                            Charges.

                       References and applications. The following term means:

                       "ORDINARY PAYROLL" is defined to be the entire payroll expense for all
                       employees of the Insured except officers, executives, department managers,
                       employees under contract, and other important employees as determined by the
                       Insured.

            b) In determining the indemnity payable as the Actual Loss Sustained, the Company
               will consider the continuation of only those normal charges and expenses that would
               have been earned had no interruption of production or suspension of business
               operations or services occurred.

            c) If the Insured would have operated at a deficit had no interruption of production or
               suspension of business operations or services happened, the extent that Fixed
               Charges and Ordinary Payroll would have been earned will be determined:

                 (i) For Fixed Charges, by subtracting the operating deficit from the Fixed Charges
                     that need to continue.

                 (ii) For Ordinary Payroll, by subtracting the excess, if any, of the operating deficit
                      over the fixed charges that need to continue from such payroll.

            d) There is recovery hereunder but only to the extent that the Insured is:

                 (i) wholly or partially prevented from producing goods or continuing business
                     operations or services;

                 (ii) unable to make up lost production within a reasonable period of time, not limited
                      to the period during which production is interrupted;

                 (iii) unable to continue such operations or services during the PERIOD OF
                       LIABILITY; and

                 (iv) able to demonstrate a loss of sales for the operations, services or production
                      prevented.

B.      EXTRA EXPENSE

               1) Measurement of Loss:

                      The recoverable EXTRA EXPENSE loss will be the reasonable and necessary
                      extra costs incurred by the Insured of the following during the PERIOD OF
                      LIABILITY:




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                      a) Extra expenses to temporarily continue as nearly normal as practicable the
                         conduct of the Insured’s business; and
                      b) Extra costs of temporarily using property or facilities of the Insured or others,

                      less any value remaining at the end of the PERIOD OF LIABILITY for property
                      obtained in connection with the above.

               2) EXTRA EXPENSE Exclusions: As respects EXTRA EXPENSE, the following are
                  also excluded:

                      a) Any loss of income.

                      b) Costs that normally would have been incurred in conducting the business
                         during the same period had no direct physical loss or damage occurred.

                      c) Cost of permanent repair or replacement of property that has been damaged or
                         destroyed.

                      d) Any expense recoverable elsewhere in this Policy.

               3) References and Application. The following term(s) means:

                      a) Normal:

                          The condition that would have existed had no direct physical loss or damage
                          occurred.

C.      LEASEHOLD INTEREST

               1) Measurement of Loss:

                      The recoverable LEASEHOLD INTEREST incurred by the Insured of the following:

                      a) If the lease agreement requires continuation of rent; and if the property is
                         wholly untenantable or unusable, the actual rent payable for the unexpired term
                         of the lease; or if the property is partially untenantable or unusable, the
                         proportion of the rent payable for the unexpired term of the lease.

                      b) If the lease is canceled by the lessor pursuant to the lease agreement or by the
                         operation of law; the Lease Interest for the first three months following the loss;
                         and the Net Lease Interest for the remaining unexpired term of the lease.

               2) References and Application. The following term(s) means:

                      a) Lease Interest:

                          The excess rent paid for the same or similar replacement property over actual
                          rent payable plus cash bonuses or advance rent paid (including maintenance or
                          operating charges) for each month during the unexpired term of the Insured’s
                          lease.


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                      b)   Net Lease Interest:
                           That sum which placed at 6% interest rate compounded annually would equal
                           the Lease Interest (less any amounts otherwise payable hereunder).


               3)     LEASEHOLD INTEREST Exclusions: As respects LEASEHOLD INTEREST, TIME
                      ELEMENT EXCLUSIONS A, B, and C do not apply and the following applies
                      instead:


                           This Policy does not insure any increase in loss resulting from the suspension,
                           lapse or cancellation of any license, or from the Insured exercising an option to
                           cancel the lease; or from any act or omission of the Insured that constitutes a
                           default under the lease.

                           In addition, there is no coverage for the Insured's loss of LEASEHOLD
                           INTEREST directly resulting from direct physical loss or damage to Personal
                           Property.


D.      RENTAL INSURANCE


               1)     Measurement of Loss:


                      The recoverable RENTAL INSURANCE loss is the Actual Loss Sustained by the
                      Insured of the following during the PERIOD OF LIABILITY:


                      a)   The fair rental value of any portion of the property occupied by the Insured;

                      b)   The income reasonably expected from rentals of unoccupied or unrented
                           portions of such property; and

                      c)   The rental income from the rented portions of such property according to bona
                           fide leases, contracts or agreements in force at the time of loss,

                      all not to include noncontinuing charges and expenses.


               2)     RENTAL INSURANCE Exclusions: As respects RENTAL INSURANCE, TIME
                      ELEMENT EXCLUSIONS A does not apply and the following applies instead:


                      A. This Policy does not insure any loss of rental income during any period in which
                           the insured property would not have been tenantable for any reason other than
                           an insured loss.


E.      COMMISSIONS, PROFITS AND ROYALTIES




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F.      DEBT RESTRUCTURING




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                1) This Policy insures the Actual Loss Sustained by the Insured for the cost as set
                   forth in this paragraph of Debt Restructuring when, directly resulting from direct
                   physical loss or damage of the type insured against under this policy to real and
                   personal property not excluded by this policy, any Lender providing a loan for the
                   property exercises their rights as Lender to enforce any contractual term allowing
                   them to apply the Property Insurance proceeds to pay down the loan or to
                   renegotiate the existing loan following direct physical loss or damage to said
                   property.

                2) Measurement of Loss: The Companies liability under this coverage section shall
                   be determined as:

                      a. The application and closing costs of restructuring the debt including but not
                         limited to title search, filing of deeds, pre-paid points, application costs and
                         other pre-paid items at closing.

                      b. Administrative costs in restructuring the debt, including Legal Expense defined
                         as attorneys fees to renegotiate the existing loan or secure new financing, but
                         shall not include judgements or fines rendered against the insured;

                      c. The incremental cost of interest (including accrued points) between the original
                         loan and the restructured loan for the remaining life of the original loan, as
                         follows:

                         Incremental interest expense shall be that amount arrived at based on the
                         difference between the projected interest rate on the new loan, multiplied by the
                         original loan balance less the original loan interest rate multiplied by the original
                         loan balance as of the date of closing of the restructured debt. Such
                         incremental interest cost shall be calculated for the remaining time period of the
                         original loan.

                         For purposes of calculating the amount in this paragraph (c) the Restructured
                         loan shall be based on the outstanding balance of original loan.

                         The Companies liability under this paragraph (c) shall be that sum which placed
                         at 5% interest rate compounded annually would equal the incremental cost of
                         interest for the remaining time period of the original loan.

                3)     Special Exclusion: This policy does not insure against Loss as specified herein,
                       which, but for the occurrence of damage to or destruction of Subject Property,
                       the Lender would have otherwise recalled the existing loan.

                4)     Definitions:

                           a: Lender is defined as the person(s) or entity (ies) granting the loan on the
                              property to the Insured;
                           b: Loan is defined as the agreement between the Lender and the Insured
                              relative to the property;




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                      c: Debt Restructuring is defined as the monetary expenses incurred by the
                          Insured for restructuring existing Loan or obtaining new Loan in
                          replacement of the original Loan as calculated in a,b and c, above.


3.      TIME ELEMENT COVERAGE EXTENSIONS




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        B.     CONTINGENT TIME ELEMENT


               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY:

               1)     directly resulting from direct physical loss or damage of the type insured; and


               2) to property of the type insured


               at any locations of suppliers or customers including builders risk locations and supplier
               or customer locations, which provide patrons to Insured locations located within the
               TERRITORY of this Policy.

               The term "supplier or customer" does not include any company supplying to or
               receiving from the Insured Location, as described elsewhere in this Policy, electricity,
               fuel, gas, water, steam, refrigeration, sewage or telecommunications.


               Such locations are meant to include, but not be limited to the following types of
               facilities:

               Supplier, Laundries, Food and Beverage and other various suppliers

               Patron Facilities: Airports                        Conference Centers
                                    Convention Centers            Sports Complexes
                                    Civic Centers                 Stadiums
                                    Theme/Amusement Parks         Exhibition Halls
                                    Government Centers            Medical Centers/Hospitals
                                    Business Office Parks         Schools/Universities
                                    Museums                       Marriott Management Services Client
                                                                  Location


        C.     EXTENDED PERIOD OF LIABILITY


               Coverage described in TIME ELEMENT COVERAGE - SECTION C, including TIME
                ELEMENT COVERAGE and TIME ELEMENT EXTENSIONS is extended to cover the
               reduction in sales resulting from:


               1) the interruption of business as covered by BUSINESS INTERRUPTION;

               2) for such additional length of time as would be required with the exercise of due
                  diligence and dispatch to restore the Insured's business to the condition that would
                      have existed had no loss occurred; and




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               3) commencing with the date on which the liability of the Company for loss resulting
                  from interruption of business would terminate if this Extension had not been
                  included herein;

               EXTENDED PERIOD OF LIABILITY Exclusions: As respects EXTENDED PERIOD
               OF LIABILITY, the TIME ELEMENT EXCLUSIONS B of this section does not apply
               and the following applies instead:

                      This Policy does not insure against any increase in loss due to fines or damages
                      for breach of contract or for late or noncompletion of orders, or penalties of any
                      nature.

                      This extension does not apply to CANCELLATION OF BOOKINGS and
                      DOWNZONING TIME ELEMENT or if otherwise stipulated under the specific TIME
                      ELEMENT EXTENSION,

               Coverage under this Extension for the reduction in sales due to contract cancellation
               will include only those sales that would have been earned under the contract during
               the extended period of liability.

               Coverage under this Extension does not apply for more than the number of
               consecutive days shown in the LIMITS OF LIABILITY clause of the DECLARATIONS
               section.

        D.     INGRESS/EGRESS

               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured due to the necessary interruption of the Insured's business due to impairment
               of ingress to or egress from an Insured Location, whether or not the premises or
               property of the Insured is damaged, provided that such impairment is a direct result of
               direct physical damage of the type insured by this Policy, to the kind of property not
               excluded by this Policy.

               This Policy does not provide coverage under this Extension for more than the number
               of consecutive days shown in the LIMITS OF LIABILITY clause of the
               DECLARATIONS section.

        E.     CANCELLATION OF BOOKINGS


                      This policy is extended to cover the Actual Loss Sustained by the Insured during a
                      Period of Liability resulting from:

                      a.   the cancellation of, and/or inability to accept bookings or reservations for
                           accommodation, and/or interference with the business at any Insured
                           Location; and/or




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                      b.   the cancellation of, and/or inability to accept bookings or reservations, and/or
                           interruption of, or interference with the business at any restaurant, spa, golf
                           course, health club or other facility of the Insured at any Insured location

                      all as a direct result of:

                           1. the occurrence at the premises of murder, attempted murder, armed robbery
                              or other violent crime, suicide, attempted suicide, death or bodily injury
                              caused by a workplace accident, food or drink poisoning, vermin, pests, or
                              defective sanitation system;

                           2. The:

                             a. outbreak of contagious and/or infectious disease as well as restrictive
                                guidance or travel advisories placed on a region or area by Centers for
                                Disease Control, World Health Organization, or comparable authority;
                             b. the outbreak of riot or civil commotion;
                             c. the occurrence of fire, or explosion, or windstorm, or flood, or volcanic
                                eruption

                             within a radius of 5 miles of an Insured Location to the extent such Time
                             Element loss is not otherwise covered under this Policy such as under the
                             Civil Authority or Military Authority, Ingress/Egress, or Contingent Time
                             Element extensions;

                           3. injury , illness, or the threat thereof sustained by any person arising from or
                              traceable to foreign or injurious matter in food and drink provided on the
                              premises of the Insured;

                           4. closing of the whole or part of the premises of the Insured by order of a
                              Public Authority consequent upon the existence or threat of hazardous
                              conditions either actual or suspected at an Insured Location to the extent
                              such closure is not otherwise covered elsewhere under this Policy such as
                              under Civil or Military Authority or Communicable Disease extensions.

                           5. The pollution by oil, chemical or other substance of any beach, waterway or
                              river within a radius of 5 miles of the Insured Location.

                           6. A Mandatory Evacuation at an Insured Location.

                             A Mandatory Evacuation shall mean a compulsory notification of an Insured
                             Location or portion thereof with an effective date and time ordered by a
                             responsible civil or military authority. Such mandatory evacuation must be
                             initiated during the Term of this Insurance.




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                         For purposes of measurement of the Time Element loss with regards to this
                         condition, the Period of Liability applying under subparagraph A 1) of Clause
                         4 of this Time Element Section C relative to this condition shall otherwise
                         apply except that such period of liability shall commence 48 hours before the
                         mandatory evacuation notification is given by the responsible civil or military
                         authority.

                         Coverage as provided under this extension shall apply to the extent such
                         Mandatory Evacuation is not otherwise covered elsewhere under this Policy
                         such as under the Civil or Military Authority Extension, Walked Guests, and
                         Guest Rebates extensions.


              Reference and Application: The following term(s) mean when used in this coverage:

                  Period of Liability: The length of time for which loss may be claimed shall not
                                      exceed such length of time as would be required with the exercise
                                      of due diligence and dispatch to restore the Insured’s business to
                                      the condition that would have existed had no loss occurred and
                                      shall include the time required to make the premises conform to
                                      the order of a competent public authority, beginning with the
                                      interruption or interference with the business and ending not later
                                      than 365 days thereafter.


        F.     ON PREMISES SERVICES

               This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by the
               Insured during the PERIOD OF LIABILITY directly resulting from direct physical loss or
               damage of the type insured to the following property located within 1,000 feet of the
               Insured Location:

               1) Electrical and telecommunications equipment.

               2) Electrical, fuel, gas, water, steam, refrigeration, sewerage, voice, data or video
                  transmission lines, whether overhead or underground, and/or any other services
                  necessary to operate the Insured’s business.

        G.     PROTECTION AND PRESERVATION OF PROPERTY – TIME ELEMENT

               This Policy covers the Actual Loss Sustained incurred by the Insured in taking
               reasonable action for the temporary protection and preservation of property insured by
               this Policy provided such action is necessary to prevent imminent direct physical loss
               or damage insured by this Policy at such insured property.


        H.     RELATED REPORTED VALUES

               If reported TIME ELEMENT values include:



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               1) locations used by the Insured (such as branch stores, sales outlets and other
                  plants) but not listed on a schedule under this Policy; and

               2) a TIME ELEMENT loss would result at such locations,

               3) from insured direct physical loss or damage at an Insured Location,

               then this Policy provides coverage for such resulting TIME ELEMENT loss in
               accordance with the coverage applicable at such Insured Location.

        I.     RESEARCH AND DEVELOPMENT

               The BUSINESS INTERRUPTION coverage is extended to insure the Actual
               Loss Sustained by the Insured of continuing fixed charges and ordinary payroll
               directly attributable to the interruption of research and development activities,
               that in themselves would not have produced income during the PERIOD OF
               LIABILITY.

               The PERIOD OF LIABILITY for this TIME ELEMENT COVERAGE EXTENSION will be
               the period from the time of direct physical loss or damage of the type insured by this
               Policy to the time when the property could be repaired or replaced and made ready for
               operations, except Ordinary Payroll will not exceed the number of consecutive days
               shown in the LIMITS OF LIABILITY clause of the DECLARATIONS section. Such
               period of time shall not be limited by the date of expiration of this Policy.

        J.     SERVICE INTERRUPTION TIME ELEMENT

               1) This Policy covers the Actual Loss Sustained and EXTRA EXPENSE incurred by
                  the Insured during the Period of Service Interruption at Insured Locations when the
                  loss is caused by the interruption of incoming services including but not limited to
                  electricity, gas, fuel, steam, water, refrigeration or from the lack of outgoing
                  sewerage service or from the lack of incoming or outgoing voice, data or video
                  service all by reason of direct physical loss or damage of the type insured against
                  to real or personal property of the type covered to the facilities of the supplier of
                  such service located within this Policy's TERRITORY, that immediately prevents in
                  whole or in part the delivery of such usable services.

               2) This Extension will apply when the Period of Service Interruption is in excess of the
                  time shown as Waiting Period in the WAITING PERIOD clause of the
                  DECLARATIONS section.

               3) In addition, as respects SERVICE INTERRUPTION TIME ELEMENT coverage the
                  following exclusion applies:

                      This Policy excludes loss or damage directly or indirectly caused by or resulting
                      from the following regardless of any other cause or event, whether or not insured
                      under this Policy, contributing concurrently or in any other sequence to the loss:

                      a) the interruption of usable voice, data or video service as a result of an
                         accidental OCCURRENCE of physical damage to a satellite.


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               4) Additional General Provisions:

                      a) The Insured will immediately notify the suppliers of services of any interruption
                         of such services.

                      b) The Company will not be liable if the interruption of such services is caused
                         directly or indirectly by the failure of the Insured to comply with the terms and
                         conditions of any contracts the Insured has for the supply of such specified
                         services.

               5) References and Application: The following term(s) means:

                      a) Period of Service Interruption:

                         (i) The period starting with the time when an interruption of specified services
                             occurs; and ending when with due diligence and dispatch the service could
                             be wholly restored and the Location receiving the service could or would
                             have resumed normal operations following the restorations of service under
                             the same or equivalent physical and operating conditions as provided by
                             the PERIOD OF LIABILITY clause in this section.

                         (ii) The Period of Service Interruption is limited to only those hours during
                              which the Insured would or could have used service(s) if it had been
                              available.

                         (iii) The Period of Service Interruption does not extend to include the
                               interruption of operations caused by any reason other than interruption of
                               the specified service(s).

        K.     INTERRUPTION BY CIVIL AND MILITARY AUTHORITY

               This Policy is extended to insure loss sustained by the Insured during the period of
               time when, as a result of physical loss or damage not otherwise excluded herein, to the
               kind of property not otherwise excluded herein and access to the property of the
               insured is impaired by order or action of civil or military authority.

        L.     WALKED GUESTS

               1) This policy covers the actual expenditure incurred beyond those normally incurred
                  by the Insured in relocating guests to another hotel during the Period of Liability
                  directly resulting from direct physical loss or damage of the type insured against
                  under this policy to property not excluded by this policy.

               2) This policy also covers the actual expenditure to relocate guests as a result of a
                  Named Windstorm that is forecast to pass within 100 statute miles of an insured
                  location and only within 48 hours of a Named Windstorm making landfall.

        M.     GUEST REBATES



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               This policy covers any goodwill payments and/or refunds that are provided by
               the hotel staff to guests following direct physical loss or damage of the type
               insured against under this policy to property not excluded by this policy.

        N.     DOWNZONING TIME ELEMENT

               This policy is extended to cover the (additional) TIME ELEMENT loss resulting from
               demolishment of and/or inability to rebuild Real Property with like kind and quality,
               height, area, and/or occupancy due to the enforcement of any law, ordinance,
               governmental directive, or standard. In determining the amount of loss sustained for
               such demolished property under this paragraph, due consideration shall be given to
               the experience of the business before the date of damage or destruction and to the
               probable experience thereafter had no loss occurred involving said property.
               Coverage under this Extension does not apply for more than the number of
               consecutive days shown in the Limits of Liability clause of the Declarations section.

        O.     DELAY IN COMPLETION

               This Policy covers the Actual TIME ELEMENT Loss Sustained by the Insured to the
               extent not insured elsewhere under the Policy and caused by direct physical loss,
               damage or destruction insured herein occurring during the term of this Policy to
               property while in the course of construction, erection, installation or assembly as
               described in PROPERTY DAMAGE – SECTION B which results in a DELAY IN
               COMPLETION of construction, erection, installation or assembly.


               Reference & Application:

               TIME ELEMENT includes “soft costs” which means those expenses relating to
               construction project(s) over and above those costs which would have been incurred,
               consisting principally of but not limited to: construction loan fees and interest expense,
               commitment fees, leasing fees and marketing expense, legal fees, architect and
               engineering fees, taxes, permitting insurance, accounting fees, and other project
               overhead expenses.


4.      PERIOD OF LIABILITY

        A.     The PERIOD OF LIABILITY applying to all TIME ELEMENT COVERAGES, except
               CANCELLATION OF BOOKINGS and DOWNZONING TIME ELEMENT and as shown
               below, or if otherwise provided under the TIME ELEMENT COVERAGE
               EXTENSIONS, is as follows:

               1) For building and equipment, the period:

                      a) starting from the time of direct physical loss or damage of the type insured
                         against; and

                      b) ending when with due diligence and dispatch the building and equipment could
                         be:


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                         (i) repaired or replaced; and

                         (ii) made ready for operations,

                         under the same or equivalent physical and operating conditions that existed
                         prior to the damage.

                      c) not to be limited by the expiration of this Policy.

               2) For building and equipment under construction:

                      a) The period of time between the Anticipated Date of Completion per the
                         construction agreement and the date on which property while in the course of
                         construction, erection, installation and assembly is actually completed and
                         accepted with the exercise of due diligence and dispatch. If such loss occurs
                         during this period of time, it shall be adjusted on the basis of the Actual Loss
                         Sustained by the Insured and consisting of the TIME ELEMENT loss provided
                         for under this Policy. The Anticipated Date of Completion shall be modified to
                         the extent there are delays not caused by insured physical loss, damage or
                         destruction.

                      b) due consideration will be given to the actual experience of the business
                         compiled after completion of the construction and startup.

                      c) Anticipated Date of Completion means the date at the time of the direct
                         physical loss, damage or destruction on which property while in the course of
                         construction, erection, installation, and assembly was scheduled to have been
                         completed and accepted per the construction agreement had no insured
                         physical loss, damage or destruction occurred.

                      This item does not apply to COMMISSIONS, PROFITS AND ROYALTIES.

               3) For stock-in-process and mercantile stock, including finished goods not
                  manufactured by the Insured, the time required with the exercise of due diligence
                  and dispatch:

                      a) to restore stock in process to the same state of manufacture in which it stood at
                         the inception of the interruption of production or suspension of business
                         operations or services; and

                      b) to replace physically damaged mercantile stock.

                      This item does not apply to RENTAL INSURANCE.

               4) For raw materials and supplies, the period of time:

                      a) of actual interruption of production or suspension of operations or services
                         resulting from the inability to get suitable raw materials and supplies to replace
                         similar ones damaged; but


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                      b) limited to that period for which the damaged raw materials and supplies would
                         have supplied operating needs.

               5) If water:

                      a) used for any manufacturing purpose, including but not limited to as a raw
                         material or for power;

                      b) stored behind dams or in reservoirs; and

                      c) on any Insured Location,

                      is released as the result of direct physical damage of the type insured against
                      under this Policy to such dam, reservoir or connected equipment, the Company's
                      liability for the actual interruption of production or suspension of operations or
                      services due to inadequate water supply will not extend beyond 30 consecutive
                      days after the damaged dam, reservoir or connected equipment has been repaired
                      or replaced.

                      This item does not apply to RENTAL INSURANCE.

               6) For direct physical damage to exposed films, records, manuscripts and drawings,
                  the time required to copy from backups or from originals of a previous generation.
                  This time does not include research, engineering or any other time necessary to
                  restore or recreate lost information.

                      This item does not apply to RENTAL INSURANCE.


        B.     The PERIOD OF LIABILITY does not include any additional time due to the Insured's
               inability to resume operations for any reason, including but not limited to:

               1) making changes to equipment.

               2) making changes to the buildings, structures, machinery or equipment except as
                  provided in the DEMOLITION AND INCREASED COST OF CONSTRUCTION
                  clause in the PROPERTY DAMAGE section.

               3) restaffing or retraining employees.
               If two or more Periods of Liability apply, such periods will not be cumulative.

5.      TIME ELEMENT EXCLUSIONS

        In addition to the exclusions elsewhere in this Policy, the following exclusions apply to TIME
        ELEMENT loss:

        This Policy does not insure against:




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        A.     Any loss during any idle period, including but not limited to when production, operation,
               service or delivery or receipt of goods would cease, or would not have taken place or
               would have been prevented due to:

               1) direct physical loss or damage not insured by this Policy on or off of the Insured
                  Location.

               2) planned or rescheduled shutdown.

               3) strikes or other work stoppage.

               4) any other reason other than direct physical loss or damage insured by this Policy.

        B.     Any increase in loss due to:

               1) suspension, cancellation or lapse of any lease, contract, license or orders.

               2) fines or damages for breach of contract or for late or noncompletion of orders

               3) for penalties of any nature.

               4) any other consequential or remote loss.

        C.     Any loss resulting from loss or damage to finished goods manufactured by the Insured,
               nor the time required for their reproduction.




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                      LOSS ADJUSTMENT AND SETTLEMENT - SECTION D

1.     LOSS ADJUSTMENT/PAYABLE

        Loss, if any, will be adjusted with and payable to Marriott International, Inc., or as may be
        directed by Marriott International, Inc. Additional insured interests will also be included in
        loss payment as their interests may appear when named as additional named insured,
        lender, mortgagee and/or loss payee in the Certificates of Insurance on file with the
        Company or named below. Also included is any person or organization to which the Insured
        is legally or contractually obligated by virtue of a written contract or agreement to provide
        such insurance as afforded in this policy, but only to the extent of such obligation.

        Payment of loss under this policy shall only be made in full compliance with all United States
        of America economic or trade sanction laws or regulations, including, but not limited to,
        sanctions, laws and regulations administered and enforced by the U.S. Treasury
        Department’s Office of Foreign Assets Control (“OFAC”).

2.     ASSIGNED ADJUSTER

       It is agreed that at the Insured's option, the Company will use Cunningham Lindsey or
       McLarens Young International or another mutually agreed upon adjusting firm or their
       designee for the adjustment of all claims made against this policy. This assignment may be
       changed by mutual consent of the Insured and the Company.

3.     CURRENCY FOR LOSS PAYMENT

        Losses will be adjusted and paid in the currency of the United States of America, except in
        Canada where losses will be paid in Canadian currency, unless directed otherwise by the
        Insured.

        In the event of a loss adjustment involving currency conversion, the exchange selling rate will
        be calculated as follows:

        A.     As respects the calculation of deductibles and limits of liability, the rate of exchange
               published in The Wall Street Journal on the date of loss.

        B.     As respects loss or damage to Real and Personal Property:

               1) the cost to repair or replace Real and Personal Property will be converted at the
                  time the cost of repair or replacement is incurred based on the rate of exchange
                  published in The Wall Street Journal.

               2) if such property is not replaced or repaired, the conversion will be based on the
                  rate of exchange published in The Wall Street Journal as of the date of loss.

        C.     As respects TIME ELEMENT loss the conversion will be based on the average of the
               rate of exchange published in The Wall Street Journal on the date of loss and the rate
               of exchange published in The Wall Street Journal on the last day of the Period of
               Liability.


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        If The Wall Street Journal was not published on the stipulated date, the rate of exchange will
        be as published on the next business day.

4.     VALUATION

        Adjustment of the direct physical loss amount under this Policy will be computed as of the
        date of loss at the location of the loss, and for no more than the interest of the Insured,
        subject to the following:

        A.     On stock in process, the value of raw materials and labor expended plus the proper
               proportion of overhead charges.

        B.     On finished goods manufactured by the Insured, the regular cash selling price at the
               Location where the loss happens, less all discounts and charges to which the finished
               goods would have been subject had no loss happened.

        C.     On raw materials, supplies and other merchandise not manufactured by the Insured:

               1) if repaired or replaced, the actual expenditure incurred in repairing or replacing the
                  damaged or destroyed property; or

               2) if not repaired or replaced, the Actual Cash Value.

        D.     On exposed films, records, manuscripts and drawings, that are not Valuable Papers
               and Records, the value blank plus the cost of copying information from back-up or from
               originals of a previous generation. These costs will not include research, engineering
               or any costs of restoring or recreating lost information.

        E.     On property covered under DEFERRED PAYMENTS, the lesser of the:

               1) total amount of unpaid installments less finance charges.

               2) Actual Cash Value of the property at the time of loss.

               3) cost to repair or replace with material of like size, kind and quality.

        F.     On FINE ARTS articles, the lesser of:

               1) the reasonable and necessary cost to repair or restore such property to the
                  physical condition that existed on the date of loss.

               2) cost to replace the article.

               3) the value, if any, stated on a schedule on file with the Company.

               4) appraised value or if there is no appraisal, at the greater of the original acquisition
                  cost or fair market value at the time of the loss.




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               In the event a Fine Arts article is part of a pair or set, and a physically damaged article
               cannot be replaced, or repaired or restored to the condition that existed immediately
               prior to the loss, the Company will be liable for the lesser of the full value of such pair
               or set or the amount designated on the schedule. The Insured agrees to surrender the
               pair or set to the Company.


        H.     On VALUABLE PAPER AND RECORDS, the lesser of the following:

                  1) The cost to repair or restore the item to the condition that existed immediately
                     prior to the loss.

                  2) The cost to replace the item.

                  3) The amount designated for the item on the schedule on file with the Company.

        I.     On property in transit:

               1) Property shipped to or for the account of the Insured will be valued at actual
                  invoice to the Insured. Included in the value are accrued costs and charges legally
                  due. Charges may include the Insured's commission as selling agent.

               2) Property sold by the Insured and shipped to or for the purchaser's account will be
                  valued at the Insured's selling invoice amount. Prepaid or advanced freight costs
                  are included.

               3) Property not under invoice will be valued:

                      a) for property of the Insured, at the valuation provisions of this Policy applying at
                         the location from which the property is being transported; or

                      b) for other property, at the actual cash market value at the destination point on
                         the date of OCCURRENCE,

                      less any charges saved which would have become due and payable upon arrival at
                      destination.


        J.     On all other property, the actual expense to the insured, based on the following:

               1) The cost to repair.

               2) The cost to rebuild or replace on the same site with new materials of like size, kind
                  and quality.

               3) The cost in rebuilding, repairing or replacing on the same or another site, but not to
                  exceed the size and operating capacity that existed on the date of loss.

               4) The selling price of real property or machinery and equipment, other than stock,
                  offered for sale on the date of loss.


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               5) The cost to replace unrepairable electrical or mechanical equipment, including
                  computer equipment, with equipment that is the most functionally equivalent to that
                  damaged or destroyed, even if such equipment has technological advantages
                  and/or represents an improvement in function and/or forms part of a program of
                  system enhancement.

               6) The increased cost of demolition, if any, resulting from loss covered by this Policy,
                  if such property is scheduled for demolition.

               7) The unamortized value of improvements and betterments, if such property is not
                  repaired or replaced at the Insured's expense.

               8) The Actual Cash Value if such property is:

                      a) useless to the Insured; or

                      b) not commenced to be repaired, replaced or rebuilt on the same or another site
                         within two years from the date of loss;

               The Insured may elect not to repair or replace the insured real and/or personal
               property lost, damaged or destroyed. Loss settlement may be elected on the lesser of
               repair or replacement cost basis if the proceeds of such loss settlement are expended
               on other capital expenditures related to the Insured's operations within four years from
               the date of loss. As a condition of collecting under this item, such expenditure must be
               unplanned as of the date of loss and be made at an Insured Location under this Policy.
               This item does not extend to DEMOLITION AND INCREASED COST OF
               CONSTRUCTION.

               References and Application. The following term(s) wherever used in this Policy
               means:

                      a) Actual Cash Value:

                         The amount it would cost to repair or replace insured property, on the date of
                         loss, with material of like kind and quality, with proper deduction for
                         obsolescence and physical depreciation.

5.     LOSS CONDITIONS

       A.      REQUIREMENTS IN CASE OF LOSS

               The Insured will:

               1) give written notice to the Company of any loss.

               2) protect the property from further loss or damage.

               3) promptly separate the damaged and undamaged property; put it in the best
                  possible order; and furnish a complete inventory of the lost, destroyed, damaged


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                      and undamaged property showing in detail the quantities, costs, Actual Cash
                      Value, replacement value and amount of loss claimed.

               4) give a signed and sworn proof of loss to the Company within 365 days after the
                  loss, unless that time is extended in writing by the Company. The proof of loss
                  must state the knowledge and belief of the Insured as to:

                      a) the time and origin of the loss.

                      b) the Insured’s interest and that of all others in the property.

                      c) the Actual Cash Value and replacement value of each item and the amount of
                         loss to each item; all encumbrances; and all other contracts of insurance,
                         whether valid or not, covering any of the property.

                      d) any changes in the title, use, occupation, location, possession or exposures of
                         the property since the effective date of this Policy.

                      e) by whom and for what purpose any location insured by this Policy was
                         occupied on the date of loss, and whether or not it then stood on leased
                         ground.

               5) include a copy of all the descriptions and schedules in all policies and, if required,
                  provide verified plans and specifications of any buildings, fixtures, machinery or
                  equipment destroyed or damaged.

               6) further, the Insured, will as often as may be reasonably required:

                      a) exhibit to any person designated by the Company all that remains of any
                         property;

                      b) submit to examination under oath by any person designated by the Company
                         and sign the written records of examinations; and

                      c) produce for examination at the request of the Company:

                         (i) all books of accounts, business records, bills, invoices and other vouchers;
                             or

                         (ii) certified copies if originals are lost,

                      at such reasonable times and places that may be designated by the Company or
                      its representative and permit extracts and machine copies to be made.

       B.      COMPANY OPTION

               The Company has the option to take all or any part of damaged property at the agreed
               or appraised value. The Company must give notice to the Insured of its intention to do
               so within 30 days after receipt of proof of loss.



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       C.      ABANDONMENT

               There may be no abandonment of any property to the Company.

       D.      SUBROGATION

               The Insured is required to cooperate in any subrogation proceedings. The Company
               may require from the Insured an assignment or other transfer of all rights of recovery
               against any party for loss to the extent of the Company’s payment.

               The Company will not acquire any rights of recovery that the Insured has expressly
               waived prior to a loss, nor will such waiver affect the Insured’s rights under this Policy.

               Any recovery from subrogation proceedings, less costs incurred by the Company in
               such proceedings, will be payable to the Insured in the proportion that the amount of:

               1) any applicable deductible; and/or

               2) any provable uninsured loss,

               bears to the entire provable loss amount.

               As respects any location(s) which is or includes condominiums, the following shall
               apply:

               Except with respect to arson and fraud, the Company agrees with the Named Insured
               to waive its rights of Subrogation as to any claim against:

                   a)       the Board of Managers, its agents and employees, and

                   b)       the respective unit-owners, their residence employees and agents.

               Independent contractors shall not be considered agents, employees or servants of the
               Board of Managers or their respective unit-owners within the meaning of this waiver.

       E.      APPRAISAL

              If the Insured and the Company fail to agree on the amount of loss, each will, on the
              written demand of either, select a competent and disinterested appraiser after:

              1)      the Insured has fully complied with all provisions of this Policy, including
                      REQUIREMENTS IN CASE OF LOSS; and

              2)      the Company has received a signed and sworn proof of loss from the Insured.

              Each will notify the other of the appraiser selected within 20 days of such demand.

              The appraisers will first select a competent and disinterested umpire. If the appraisers
              fail to agree upon an umpire within 30 days then, on the request of the Insured or the
              Company, the umpire will be selected by a judge of a court of record in the jurisdiction


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              in which the appraisal is pending. The appraisers will then appraise the amount of loss,
              stating separately the Actual Cash Value and replacement cost value as of the date of
              loss and the amount of loss, for each item of direct physical loss or damage or if, for
              TIME ELEMENT loss, the amount of loss for each TIME ELEMENT coverage of this
              Policy.

              If the appraisers fail to agree, they will submit their differences to the umpire. An award
              agreed to in writing by any two will determine the amount of loss.

              The Insured and the Company will each:

              1)      pay its chosen appraiser; and

              2)      bear equally the other expenses of the appraisal and umpire.

              A demand for APPRAISAL shall not relieve the Insured of its continuing obligation to
              comply with the terms and conditions of this Policy, including as provided under
              REQUIREMENTS IN CASE OF LOSS.

              The Company will not be held to have waived any of its rights by any act relating to
              appraisal.

       F.      SUIT AGAINST THE COMPANY

              No suit, action or proceeding for the recovery of any claim will be sustained in any court
              of law or equity unless:

              1)      the Insured has fully complied with all the provisions of this Policy; and

              2)      legal action is started within twenty-four months after inception of the loss.

              If under the insurance laws of the jurisdiction in which the property is located, such
              twenty-four months’ limitation is invalid, then any such legal action needs to be started
              within the shortest limit of time permitted by such laws.

6.     SETTLEMENT OF CLAIMS

       The amount of loss, except for ACCOUNTS RECEIVABLE coverage, for which the Company
       may be liable will be paid within 30 days after:

       A.      proof of loss as described in this Policy is received by the Company; and

       B.      when a resolution of the amount of loss is made either by:

               1) written agreement between the Insured and the Company; or

               2) the filing with the Company of an award as provided in the APPRAISAL clause of
                  this section.




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7.     COLLECTION FROM OTHERS

        The Company will not be liable for any loss to the extent that the Insured has collected for
        such loss from others.

8.     PARTIAL PAYMENT OF LOSS SETTLEMENT

        In the event of a loss occurring which has been ascertained to be insured loss or damage
        under this Policy and determined by the Company’s representatives to be in excess of the
        applicable Policy deductible, the Company will advance mutually agreed upon partial
        payment(s) on the insured loss or damage, subject to the Policy’s provisions and within ten
        (10) days of receipt of sworn Proof of Loss from the insured. To obtain said partial
        payments, the Insured will submit a signed and sworn Proof of Loss as described in this
        Policy, with adequate supporting documentation.

9.     JURISDICTION

        This Policy will be governed by United States of America Law. Any disputes arising
        hereunder will be exclusively subject to United States of America jurisdiction.

10. ASSIGNMENT OF POLICY

       Assignment of this Policy will not be valid except with the written consent of the
       Company.




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                               GENERAL PROVISIONS - SECTION E

 1.    ADDITIONAL INSURABLE INTERESTS/CERTIFICATES OF INSURANCE

       Additional insured interests are automatically added to this Policy as their interest may
       appear when named as Additional Insureds, Mortgagee and/or Loss Payee on the
       Certificates of Insurance on a schedule on file with the Company. Such interests become
       effective on the date shown in the Certificate of Insurance and will not amend, extend or alter
       the terms, conditions, provisions and limits of this Policy.

 2.    CANCELLATION/NON-RENEWAL

       This Policy may be:

       A.      cancelled at any time at the request of the Insured by surrendering this Policy to the
               Company or by giving written notice to the Company stating when such cancellation
               will take effect; or

       B.      cancelled by the Company by giving the Insured not less than:

               1) 180 days’ written notice of cancellation; or

               2) 30 days’ written notice of cancellation if the Insured fails to remit, when due,
                  payment of premium for this Policy; or

               3) non-renewed by the Company by giving the Insured not less than 60 days’ written
                  notice of non-renewal.

       Return of any unearned premium will be calculated on the customary short rate basis if the
       Insured cancels and on a pro-rata basis if the Company cancels this Policy. Return of any
       unearned premium will be made by the Company as soon as practicable.

 3.    INSPECTIONS

       The Company, at all reasonable times, will be permitted, but will not have the duty, to inspect
       insured property.

       The Company's:

       A.      right to make inspections;

       B.      making of inspections; or

       C.      analysis, advice or inspection report,

       will not constitute an undertaking, on behalf of or for the benefit of the Insured or others, to
       determine or warrant that the insured property is safe or healthful. This Company will have
       no liability to the Insured or any other person because of any inspection or failure to inspect.




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       When the Company is not providing jurisdictional inspections, the Owner/Operator has the
       responsibility to assure that jurisdictional inspections are performed as required, and to
       assure that required jurisdictional Operating Certificates are current for their pressure
       equipment.

 4.    VACANCY

       The Insured has permission to cease operations or remain vacant or unoccupied provided
       fire protection, watch and alarm services are maintained, and written notice is given to the
       Insurer prior to the one hundred twentieth (120th) consecutive day of cessation of operations,
       vacancy or unoccupancy. The Insured’s building is considered vacant or unoccupied when it
       does not contain enough covered Property to conduct customary business operations.

 5.    PROVISIONS APPLICABLE TO SPECIFIC JURISDICTIONS

        A.     If the provisions of this Policy conflict with the laws of any jurisdictions in which this
               Policy applies, and if certain provisions are required by law to be stated in this Policy,
               this Policy will be read so as to eliminate such conflict or deemed to include such
               provisions for Insured Locations within such jurisdictions.

        B.     The Company will provide to the Insured copies of endorsements mandated for use by
               the laws of provinces in Canada. The endorsements may modify this Policy with
               respect to any insured property located in the province in which the endorsement
               applies.

        C.     For any insured property located in Ireland, a Stamp Duty has or will be paid to the
               Revenue Commissioners in accordance with the provision of Section 113 Finance Act
               1990.

        D.     Coverage is provided for physical damage or consequential loss to insured property in
               Northern Ireland occasioned by or happening through or in consequence directly or
               indirectly of:

               1) riot, civil commotion and (except in respect of damage or consequential loss by fire
                  or explosion) strikers, locked-out workers or persons taking part in labor
                  disturbances or malicious persons;

               For the purposes of this clause:

               1) Consequential loss will mean TIME ELEMENT.

        E.     For any insured property located in Norway, this Policy insures against loss or damage
               to insured property resulting from Natural Catastrophe perils as designated in the Act
               of Natural Perils of June 16th, 1989.

        F.     With respect to any insured property in South Africa, the following conditions
               additionally apply:

               Notwithstanding anything contained herein to the contrary:



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               1) This Policy does not cover loss of or damage directly or indirectly to property
                  related to or caused by:

                      a) civil commotion, labor disturbances, riot, strike, lockout or public disorder or any
                         act or activity which is calculated or directed to bring about any of the above;

                      b) war, invasion, act of foreign enemy, hostilities or warlike operations (whether
                         war be declared or not) or civil war;

                      c) (i) mutiny, military rising, military or usurped power, martial law or state of
                             siege, or any other event or cause which determines the proclamation or
                             maintenance of martial law or siege;

                           (ii) insurrection, rebellion or revolution.

                      d) any act (whether on behalf of any organization, body or person, or group of
                         persons) calculated or directed to overthrow or influence any state or
                         government, or any provincial, local or tribal authority with force, or by means of
                         fear, terrorism or violence;

                      e) any act which is calculated or directed to bring about loss or damage in order to
                         further any political aim, objective or cause or to bring about any social or
                         economic change, or in protest against any state or government, or any
                         provincial, local or tribal authority, or for the purpose of inspiring fear in the
                         public, or any section thereof;

                      f)   any attempt to perform any act referred to in clause d or e above;

                      g) The act of any lawfully established authority in controlling, preventing,
                         suppressing or in any other way dealing with any OCCURRENCE referred to in
                         clause a, b, c, d, e or f above.

                      If the Insurers allege that by reason of clauses a, b, c, d, e, f, or g of this exclusion,
                      loss or damage is not covered by this Policy, the burden of proving the contrary will
                      rest on the Insured.

               2) This Policy does not cover loss or damage caused directly or indirectly by or
                  through or in consequence of any OCCURRENCE for which a fund has been
                  established in terms of the War Damage Insurance and Compensation Act 1976
                  (No. 85 of 1976) or any similar Act operative in any of the territories to which this
                  Policy applies.

        G.     In respect of any insured property in Spain and as applies to Physical Damage
               coverage only, this Policy does not insure against physical loss or damage caused by:

               1) events separately insured by the Consorcio de Compensacion de Seguros, or
                  events classified by the Public Authorities in Spain as an “extraordinary
                  circumstance.”




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               2) all losses where, despite being of an extraordinary and catastrophic nature, the
                  Consorcio de Compensacion de Seguros does not acknowledge the rights of the
                  Insured on account of the Insured’s failure to comply with any of the conditions and
                  stipulations contained in the Reglamento y Disposiciones Complementaras in force
                  at the time of the OCCURRENCE as well as those occurring within the payment
                  free period specified by the aforementioned authority. The Consorcio de
                  Compensacion de Seguros will indemnify claims of an extraordinary nature, within
                  the terms of the various laws and/or Royal Decrees and/or Regulations of Spain
                  which govern Consorcio de Seguros.

        H.     United Kingdom Terrorism Exclusion; in respect of any insured property located in the
               United Kingdom, this policy does not provide coverage for events to the extent that the
               event is certified by Her Majesty’s Treasury and coverage is afforded under the
               provisions of the PoolRe Terrorism endorsement as issued under the local policy.

               United Kingdom means England, Wales or Scotland, but not the territorial seas
               adjacent thereto as defined by the Territorial Sea Act of 1987.

        I.     The Company will provide to the Insured copies of endorsements mandated for use by
               the laws of states in the United States of America. The endorsements may modify this
               Policy with respect to any insured property located in the state in which the
               endorsement applies.

        J.     Sturmflut is excluded in Bundeslaender and Hansestadte (states) of Schleswig-
               Holstsein, Niedersachsen, Mechlenburg-Vorpommern, Bremen and Hamburg,
               Germany.

               Sturmflut means a general and temporary condition of partial or complete inundation of
               dry land areas caused by or resulting from the overflow of river, lake, bay, estuary or
               tidal waters because of the rapid accumulation of runoff of surface waters from any
               source or from wind driven storm surge, tidal wave, high tide, flood tide, wave wash or
               tsunami.

        K.     France Terrorism Exclusion; in respect of any insured property located in France or in
               the French territories, this policy does not provide coverage against losses which fall
               under French Law 82-600 of July 13, 1982 and are declared a disaster pursuant to
               said law by the French government in the "Official Journal" of the French Republic, but
               only to the extent of recovery thereunder. (Conditions of payment or delays in payment
               shall not abrogate this exclusion). Nor against all material damage and consequential
               loss arising as a result of all perils indemnifiable in terms of the scope of cover granted
               by GAREAT.”

 6.    MISREPRESENTATION AND FRAUD

        This entire Policy will be void if, whether before or after a loss, an Insured has:

        A.     willfully concealed or misrepresented any material fact or circumstance concerning this
               insurance, the subject thereof, any insurance claim, or the interest of an Insured.

        B.     made any attempt to defraud the Company.


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        C.     made any false swearing.

 7.    LENDERS LOSS PAYEE AND MORTGAGEE INTERESTS AND OBLIGATIONS

        A.     The Company will pay for loss to specified property insured under this Policy to each
               specified Lender Loss Payee (hereinafter referred to as Lender) as its interest may
               appear, and to each specified Mortgagee as its interest may appear, under all present
               or future mortgages upon such property, in order of precedence of the mortgages.

        B.     The interest of the Lender or Mortgagee (as the case may be) in property insured
               under this Policy will not be invalidated by:

               1) any act or neglect of the debtor, mortgagor, or owner (as the case may be) of the
                  property.

               2) foreclosure, notice of sale, or similar proceedings with respect to the property.

               3) change in the title or ownership of the property.

               4) change to a more hazardous occupancy.

               The Lender or Mortgagee will notify the Company of any known change in ownership,
               occupancy, or hazard and, within 10 days of written request by the Company, may pay
               the increased premium associated with such known change. If the Lender or
               Mortgagee fails to pay the increased premium, all coverage under this Policy will
               cease.

        C.     If this Policy is cancelled at the request of the Insured or its agent, the coverage for the
               interest of the Lender or Mortgagee will terminate 90 days after the Company sends to
               the Lender or Mortgagee written notice of cancellation, unless:

               1) sooner terminated by authorization, consent, approval, acceptance, or ratification
                  of the Insured's action by the Lender or Mortgagee, or its agent.

               2) this Policy is replaced by the Insured, with a policy providing coverage for the
                  interest of the Lender or Mortgagee, in which event coverage under this Policy with
                  respect to such interest will terminate as of the effective date of the replacement
                  policy, notwithstanding any other provision of this Policy.

        D.     The Company may cancel this Policy and/or the interest of the Lender or Mortgagee
               under this Policy, by giving the Lender or Mortgagee written notice 90 days prior to the
               effective date of cancellation, if cancellation is for any reason other than non-payment.
               If the debtor, mortgagor, or owner has failed to pay any premium due under this Policy,
               the Company may cancel this Policy for such non-payment, but will give the Lender or
               Mortgagee written notice 10 days prior to the effective date of cancellation. If the
               Lender or Mortgagee fails to pay the premium due by the specified cancellation date,
               all coverage under this Policy will cease.




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        E.     The Company has the right to invoke this Policy's SUSPENSION clause. The
               suspension of insurance will apply to the interest of the Lender or Mortgagee in any
               machine, vessel, or part of any machine or vessel, subject to the suspension. The
               Company will provide the Lender or Mortgagee at the last known address a copy of the
               suspension notice.

        F.     If the Company pays the Lender or Mortgagee for any loss, and denies payment to the
               debtor, mortgagor or owner, the Company will, to the extent of the payment made to
               the Lender or Mortgagee be subrogated to the rights of the Lender or Mortgagee under
               all securities held as collateral to the debt or mortgage. No subrogation will impair the
               right of the Lender or Mortgagee to sue or recover the full amount of its claim. At its
               option, the Company may pay to the Lender or Mortgagee the whole principal due on
               the debt or mortgage plus any accrued interest. In this event, all rights and securities
               will be assigned and transferred from the Lender or Mortgagee to the Company, and
               the remaining debt or mortgage will be paid to the Company.

        G.     If the Insured fails to render proof of loss, the Lender or Mortgagee, upon notice of the
               Insured's failure to do so, will render proof of loss within 60 days of notice and will be
               subject to the provisions of this Policy relating to APPRAISAL, SETTLEMENT OF
               CLAIMS, and SUIT AGAINST THE COMPANY.

        H.     Other provisions relating to the interests and obligations of the Lender or Mortgagee
               may be added to this Policy by agreement in writing.

               The terms debtor, mortgagor or owner as used within this policy shall also include the
               Insured.

 8.    OTHER INSURANCE

        A.     If there is any other insurance that would apply in the absence of this Policy, this Policy
               will apply only after such insurance whether collectible or not.

        B.     In no event will this Policy apply as contributing insurance.

        C.     The Insured and/or contractors at insured property during course of construction are
               permitted to have other insurance over any limits or sublimits of liability specified
               elsewhere in this Policy without prejudice to this Policy. The existence of any such
               insurance will not reduce any limit or sublimit of liability in this Policy. Any other
               insurance that would have provided primary coverage in the absence of this Policy will
               not be considered excess.

        D.     The Insured is permitted to have other insurance for all, or any part, of any deductible
               in this Policy. The existence of such other insurance will not prejudice recovery under
               this Policy. If the limits of liability of such other insurance are greater than this Policy's
               applicable deductible, this Policy’s insurance will apply only after such other insurance
               has been exhausted.

        E.     In the event this Policy is deemed to contribute with other insurance, the limit of liability
               applicable at each Location, for purposes of such contribution with other insurers, will



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               be the latest amount described in this Policy or the latest Location value on file with the
               Company.

        F.     When this Policy includes property in more than one jurisdiction, separate policies
               underlying this Policy may be issued by the Company in compliance with jurisdictional
               requirements. Such underlying policies will not be considered as additional insurance,
               but as duplicate insurance only.

        G.     With respect to any contractual obligation of the Insured to provide property insurance
               to any other party, this property insurance shall apply to any loss without any
               contribution by the insurance of the party to whom the Insured is so obligated, but only
               to the extent of the Insured’s contractual obligation to provide property insurance to
               such party.

               With respect to any contractual obligation of another party to provide property
               insurance to any insurance hereunder, this policy shall be excess of, and not
               contribute with any insurance available to the other party so obligated to the Insured.

 9.    GROUND LESSOR INTERESTS

       To the extent the Insured and Ground Lessee are contractually obligated, loss, if any, under
       this Policy with respects to Real Property shall be payable to any Ground Lessor of such
       Real Property, as their interest may appear under all present leases; and this insurance, as
       to the interest of the Ground Lessor therein, shall not be invalidated by the act or neglect of
       the Ground Lessee of such Real Property of the Insured.

 10. REDUCTION BY LOSS

       Claims paid under this Policy will not reduce its’ limit of liability, except claims paid will reduce
       any Policy Year Aggregate Limit of Liability.

 11. SUSPENSION

       On discovery of a dangerous condition, the Company may immediately suspend this
       insurance on any machine, vessel or part thereof by giving written notice to the Insured. The
       suspended insurance may be reinstated by the Company. Any unearned premium resulting
       from such suspension will be returned by the Company.

 12. TITLES

       The titles in this Policy are only for reference. The titles do not in any way affect the
       provisions of this Policy.

 13. OCCURRENCE

       Reference to loss or damage arising out of one OCCURRENCE shall mean the sum of all
       loss or damage insured against, irrespective of the number of locations involved, arising out
       of or caused by any one disaster, loss or series of disasters, accidents or losses arising out
       of one event.



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                                                 APPENDIX A
                                New Madrid and Pacific Northwest Seismic Zones
ARKANSAS        ILLINOIS       INDIANA      KENTUCKY MISSISSIPPI          MISSOURI           TENNESSEE
Arkansas        Alexander      Gibson       Ballard      Bolivar          Bollinger          Carroll
Clay            Bond           Knox         Caldwell     Coahoma          Butler             Crockett
Cleburne        Christian      Pike         Calloway     De Soto          Cape Girardeau     Dyer
Craighead       Clark          Posey        Carlisle     Marshall         Carter             Fayette
Crittenden      Clay           Sullivan     Crittenden   Tate             Crawford           Gibson
Cross           Clinton        Vanderburgh Fulton        Tunica           Dent               Hardeman
Fulton          Coles                       Graves                        Dunklin            Haywood
Greene          Crawford                    Henderson                     Franklin           Henry
Independenc     Cumberland                  Hickman                       Howell             Lake
                Douglas                     Livingston                    Iron               Lauderdale
Izard           Edgar                       Lyon                          Jefferson          Madison
Jackson         Edwards                     Marshall                      Madison            Obion
Lawrence        Effingham                   McCracken                     Mississippi        Shelby
Lee             Fayette                     Trigg                         New Madrid         Tipton
Lonoke          Franklin                    Union                         Oregon             Weakley
Mississippi     Gallatin                    Webster                       Pemiscot
Monroe          Hamilton                                                  Perry
Phillips        Hardin                                                    Reynolds
Poinsett        Jackson                                                   Ripley
Prairie         Jasper                                                    Saint Charles
Randolph        Jefferson                                                 Saint Francois
Saint Francis   Jersey                                                    Saint Louis
Sharp           Johnson                                                   Saint Louis City
Stone           Lawrence                                                  Sainte Genevieve
White           Macoupin                                                  Scott
Woodruff        Madison                                                   Shannon
                Marion                                                    Stoddard
                Massac                                                    Texas
                Monroe                                                    Washington
                Montgomery                                                Wayne
                Moultrie
                Perry
                Pope
                Pulaski
                Randolph
                Richland
                Saint Clair
                Saline
                Shelby
                Union
                Wabash
                Washington
                Wayne
                White
                Williamson



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  Pacific Northwest Seismic Zones
   WASHINGTON
   Chelan
   Clallam
   Clark
   Cowlitz
   Douglas
   Ferry
   Grant
   Grays Harbor
   Island
   Jefferson
   King
   Kitsap
   Kittitas
   Lewis
   Mason
   Okanogan
   Pacific
   Pierce
   San Juan
   Skagit
   Skamania
   Snohomish
   Thurston
   Wahkiakum
   Whatcom
   Yakima


Pacific Northwest Seismic Zones

The geographic area of British Columbia, Canada (including Vancouver Island and other Canadian
islands) that is south of 50° north latitude and west of 120° west longitude.




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                                     APPENDIX B
                                 Tier 1 and Tier 2 Counties

                         STATE       TIER 1 COUNTIES          TIER 2 COUNTIES
                 Alabama            Baldwin
                 Alabama            Mobile
                 Florida            Bay
                 Florida            Brevard
                 Florida            Broward
                 Florida                                  Calhoun
                 Florida            Charlotte
                 Florida            Citrus
                 Florida            Collier
                 Florida            Miami - Dade
                 Florida            Dixie
                 Florida            Duval
                 Florida            Escambia
                 Florida            Flagler
                 Florida            Franklin
                 Florida            Gulf
                 Florida            Hernando
                 Florida            Hillsborough
                 Florida            Indian River
                 Florida            Jefferson
                 Florida            Lee
                 Florida            Levy
                 Florida                                  Liberty
                 Florida            Manatee
                 Florida            Martin
                 Florida            Monroe
                 Florida            Nassau
                 Florida            Okaloosa
                 Florida            Palm Beach
                 Florida            Pasco
                 Florida            Pinellas
                 Florida            Sarasota
                 Florida            St Lucie
                 Florida            St Johns
                 Florida            Santa Rosa
                 Florida            Taylor
                 Florida            Volusia
                 Florida            Wakulla
                 Florida            Walton
                 Florida                                  Washington
                 Florida                                  Alachua
                 Florida                                  Baker
                 Florida                                  Bradford
                 Florida                                  Clay
                 Florida                                  Columbia
                 Florida                                  De Soto


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                         STATE     TIER 1 COUNTIES       TIER 2 COUNTIES
                 Florida                                Gadsden
                 Florida                                Gilchrist
                 Florida                                Glades
                 Florida                                Hamilton
                 Florida                                Hardee
                 Florida                                Hendry
                 Florida                                Highlands
                 Florida                                Holmes
                 Florida                                Jackson
                 Florida                                Lafayette
                 Florida                                Lake
                 Florida                                Leon
                 Florida                                Madison
                 Florida                                Marion
                 Florida                                Okeechobee
                 Florida                                Orange
                 Florida                                Osceola
                 Florida                                Polk
                 Florida                                Putman
                 Florida                                Seminole
                 Florida                                Sumter
                 Florida                                Suwannee
                 Florida                                Union
                 Georgia          Bryan
                 Georgia          Camden
                 Georgia          Chatham
                 Georgia          Glynn
                 Georgia          Liberty
                 Georgia          McIntosh
                 Louisiana        Assumption
                 Louisiana        Cameron
                 Louisiana        Iberia
                 Louisiana        Jefferson
                 Louisiana        Laforche
                 Louisiana        Orleans
                 Louisiana        Plaquemines
                 Louisiana        St Bernard
                 Louisiana        St Charles
                 Louisiana        St James
                 Louisiana        St John the Baptist
                 Louisiana        St Mary
                 Louisiana        St Martin
                 Louisiana        St Tammany
                 Louisiana        Terrbonne
                 Louisiana        Vermilion
                 Louisiana        Acadia
                 Louisiana        Ascension
                 Louisiana        Calcasieu
                 Louisiana                              East Baton Rouge


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                          STATE     TIER 1 COUNTIES    TIER 2 COUNTIES
                 Louisiana        Iberville
                 Louisiana        Jefferson Davis
                 Louisiana        Lafayette
                 Louisiana        Livingston
                 Louisiana        Tangipahoa
                 Louisiana        Washington
                 Louisiana                            West Baton Rouge
                 Mississippi      Hancock
                 Mississippi      Harrison
                 Mississippi      Jackson
                 North Carolina   Beaufort
                 North Carolina   Bertie
                 North Carolina   Brunswick
                 North Carolina   Camden
                 North Carolina   Carteret
                 North Carolina   Chowan
                 North Carolina   Craven
                 North Carolina   Currituck
                 North Carolina   Dare
                 North Carolina   Gates
                 North Carolina   Hyde
                 North Carolina
                 North Carolina   New Hanover
                 North Carolina   Onslow
                 North Carolina   Pamlico
                 North Carolina   Pasquotank
                 North Carolina   Pender
                 North Carolina   Perquimans
                 North Carolina   Tyrell
                 North Carolina   Washington
                 North Carolina   Hertford
                 South Carolina   Beaufort
                 South Carolina   Berkeley
                 South Carolina   Charleston
                 South Carolina   Georgetown
                 South Carolina                       Horry
                 South Carolina                       Jasper
                 South Carolina                       Colleton
                 Texas            Aransas
                 Texas            Brazoria
                 Texas            Calhoun
                 Texas            Cameron
                 Texas            Chambers
                 Texas            Galveston
                 Texas            Jefferson
                 Texas            Harris
                 Texas            Liberty
                 Texas            Kennedy
                 Texas            Kleberg


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                 STATE            TIER 1 COUNTIES       TIER 2 COUNTIES
                 Texas            Newton
                 Texas            Nueces
                 Texas            Orange
                 Texas            Refugio
                 Texas            San Patricio
                 Texas            Victoria
                 Texas            Willacy




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                                    APPENDIX D




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                                    APPENDIX E




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                                                 APPENDIX F
Newly Added/Acquired Locations

It is agreed and understood that, subject to provisions for Automatic Coverage as stipulated in this
policy, locations added during the policy period in in locations defined below shall be subject to
deductibles defined in Declarations for Newly Added/Acquired locations until otherwise agreed with
Company.

Earthquake


Regional high hazard zones consisting of the following geographic areas in each of the following
regions:

a. Asia Pacific Region

     i.      Armenia, Bangladesh, Bhutan, Caroline Islands, Guam, Indonesia, Marianas Islands,
             Marshall Islands, Micronesia, Myanmar (Burma), Nepal, New Zealand, All Other Islands of
             the South Pacific, Pakistan, Palau Islands, Papua New Guinea, Philippines, Solomon Islands,
             Taiwan;

    ii.      China limited to: the Provinces of Gansu, Hebei, Henan, Liaoning, Ningxia, Qinghai, Shaanxi,
             Shandong, Shanxi, Sichuan, Tibet, Xinjiang & Yunnan, the Inner Mongolia Region, the
             municipality of Tianjin and the Capital of Beijing;

    iii.     India limited to: the States of Arunachal Pradesh, Assam, Bihar, Deli, Gujarat, Haryana,
             Himachal Pradesh, Jammu and Kashmir, Manipur, Meghalaya, Mizoram, Nagaland, Punjab,
             Rajasthan, Sikkim, Tripura, Uttar Pradesh & Uttarakhand and the Union Territories of
             Chandigarh, Dadra and Nagar Haveli & Daman and Diu;


b. Caribbean Region

           Anguilla, Antigua & Barbuda, British Virgin Islands, Caribbean Netherlands, Cayman Islands,
           Curacao, Dominica, , Guadeloupe, Grenada, Haiti, Jamaica, Martinique, Montserrat, St.
           Barthelemy, St. Kitts and Nevis, St. Lucia, St. Martin/St. Maarten, St. Vincent and the
           Grenadines, , Turks & Caicos,

c. Eastern Europe Region

           Bosnia, Bulgaria, Croatia, Georgia, Moldova, Montenegro, Romania, Serbia;

   d.          Latin America Region

 Bolivia, Colombia, Ecuador, Guatemala, Nicaragua, Panama, Peru, Venezuela;


e. Middle East & Africa Region




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       Afghanistan, Albania, Algeria, Azerbaijan, Iraq, Kazakhstan, Kyrgyzstan, Macedonia, Tajikistan,
       Turkmenistan, Uzbekistan;

f.     Western Europe Region

     i. Crete, Cyprus, Iceland, Monaco;

 ii. France limited to: the Provinces of Cannes, Marseille, & Toulon;

 Named Windstorm

 Locations within 50 miles of the coastline in the following geographic areas in each of the following
    regions:

 a. Asia Pacific Region

       Bangladesh, Borneo, Caroline Islands, China, Guam, Hong Kong, India, Indonesia, Japan, Macau,
       Marianas Islands, Marshall Islands, Micronesia, Myanmar (Burma), New Zealand, All Other Islands
       of the South Pacific, Pakistan, Palau Islands, Papua New Guinea, Philippines, Solomon Islands,
       South Korea, Sri Lanka, Taiwan and Vietnam.

 b. Caribbean Region

       Anguilla, Antigua & Barbuda, Bahamas, Bermuda, British Virgin Islands, Caribbean Netherlands,
       Cayman Islands, Curacao, Dominica, Grenada, Guadeloupe, Haiti, Jamaica, Martinique,
       Montserrat, St. Barthelemy, St. Kitts & Nevis, St. Lucia, St. Martin/St. Maarten, St. Vincent and the
       Grenadines and Turks & Caicos.

 c. Latin America Region

     i. Belize, El Salvador, Guatemala, Honduras, Panama; and

 ii. Mexico limited to: the States of Baja California Sur, Campeche, Colima, Guerrero, Jalisco,
     Michoacán, Nayarit, Quintana Roo, Sinaloa, Tabasco, Tamaulipas, Veracruz and Yucatan.

 d. Middle East & Africa Region

       Kenya, La Reunion Island, Madagascar, Mozambique and Mauritius




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                                        ENDORSEMENT # 1

                           TERRORISM EXCLUSION ENDORSEMENT

Notwithstanding any provision to the contrary within this insurance or any endorsement thereto it is
agreed that this insurance excludes loss, damage, cost or expense of whatsoever nature directly
or indirectly caused by, resulting from or in connection with any of the following regardless of any
other cause or event contributing concurrently or in any other sequence to the loss

    1. War, invasion, acts of foreign enemies, hostilities or warlike operations (whether war be
       declared or not), civil war, rebellion, revolution, insurrection, civil commotion assuming the
       proportions of or amounting to an uprising, military or usurped power; or

    2. Any act of terrorism.

For the purpose of this endorsement an act of terrorism means an act, including the use of force or
violence, of any person or group(s) of persons whether acting alone or on behalf of or in
connection with an organization(s), committed for political, religious or ideological purposes
including the intention to influence any government and/or to put the public in fear for such
purposes.

An act of terrorism shall also include any act which is verified or recognized by the United States
Government as an act of Terrorism.




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                                           ENDORSEMENT # 2

                                       ASBESTOS ENDORSEMENT



A.     This Policy only insures asbestos physically incorporated in an insured building or structure,
       and then only that part of the asbestos which has been physically damaged during the policy
       period by one of these Listed Perils:

       Fire; Smoke; Explosion; Lightning; Windstorm; Hail; Direct Impact of Vehicles, Aircraft or
       Vessel; Riot or Civil Commotion; Vandalism or Malicious Mischief; Leakage or Accidental
       Discharge of Fire Protective Equipment.

       This coverage is subject to all limitations in the policy to which this endorsement is attached
       and, in addition, to each of the following specific limitations:

       1.       The said building or structure must be insured under this policy for damage by that
                Listed Peril.

       2.       The Listed Peril must be the immediate, sole cause of the damage to the asbestos.

       3.       The Assured must inspect the building or structure and report to Underwriters the
                existence and cost of the damage within one year after the Listed Peril first damaged
                the asbestos. Any later reported damage is not insured, including all damage
                reported more than one year after the last day of the policy period.

       4.       Insurance under this policy in respect of asbestos shall not include any sum relating
                to:

                (i)     faults in the asbestos or its design or workmanship;

                (ii)    asbestos not physically damaged by the Listed Peril;

                (iii)   actions taken to protect human health or property; or

                (iv)    standards or requirements set by any government or regulatory authority.

B.     Except as set forth in the foregoing Section A, this policy does not insure asbestos or any
       sum relating thereto.




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                                        ENDORSEMENT # 3

                      BIOLOGICAL OR CHEMICAL MATERIALS EXCLUSION


It is agreed that this Insurance excludes loss, damage, cost or expense of whatsoever nature
directly or indirectly caused by, resulting from or in connection with the actual or threatened
malicious use of pathogenic or poisonous biological or chemical materials regardless of any other
cause or event contributing concurrently or in any other sequence thereto.




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                                            ENDORSEMENT # 4

          MOLD, MILDEW AND FUNGUS CLAUSE AND MICROORGANISM EXCLUSION


        A. This policy only insures physical loss or damage to insured property by mold, mildew or
           fungus when directly caused by a peril insured by this Policy occurring during the policy
           period.

           This coverage is subject to all limitations in the policy to which this endorsement is
           attached and, in addition, to each of the following specific limitations:

                  1.    The said property must otherwise be insured under this policy for physical
                        loss or damage by that peril.
                  2.    The Assured must report to Underwriters the existence and cost of the
                        physical loss or damage by mold, mildew or fungus as soon as practicable,
                        but no later than twelve (12) months after the peril first caused any physical
                        loss or damage to insured property during the policy period. This policy
                        does not insure any physical loss or damage by mold, mildew or fungus first
                        reported to Underwriters after that twelve (12) month period.
                  3.    Regardless of circumstance or other policy provisions, the maximum amount
                        insured and payable under this policy for all mold, mildew or fungus caused
                        by or resulting from such peril is $ 150,000,000 for any one OCCURRENCE.

        B. Except as set forth in the foregoing Section A, this policy does not insure any loss,
           damage, claim, cost, expense or other sum directly or indirectly arising out of or relating
           to:
               mold, mildew, fungus, spores or other microorganism of any type, nature, or
               description, including but not limited to any substance whose presence poses an
               actual or potential threat to human health.

           This exclusion applies regardless whether there is (i) any physical loss or damage to
           insured property; (ii) any insured peril or cause, whether or not contributing concurrently
           or in any sequence; (iii) any loss of use, occupancy, or functionality; or (iv) any action
           required, including but not limited to repair, replacement, removal cleanup, abatement,
           disposal, relocation, or steps taken to address medical or legal concerns.




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                                             ENDORSEMENT # 5

                                 GREEN COVERAGE ENDORSEMENT


It is agreed that this Endorsement is a part of the Policy and that the terms and conditions of the
Policy are amended as described herein. All other terms and conditions of the Policy remain
unchanged.

Subject to the terms, conditions, exclusions and limitations of the Policy, as provided in the
VALUATION clause in the PROPERTY DAMAGE section of the Policy when insured property is
repaired or replaced as a direct result of insured physical loss or damage, the Policy is extended
as follows:

In respects of locations or structures with an existing Green Authority Certification

This policy covers the reasonable and necessary costs incurred by the Insured to satisfy the
minimum requirements to obtain the same pre-loss point status under the Green Authority
certification including but not limited to:

        1. Added costs to hire an accredited architect, engineer or other professional to design,
           oversee or document the repair or replacement of the damaged building to "Green"
           certification standards.

        2. Added costs in testing to verify that the repaired or replaced building components and
           systems are performing in accordance with "Green" certification requirements.

        3. Added costs in the registration and recertification fees charged by the United States
           Green Building Council or foreign certification equivalent.

        4. The cost to fill soil on the roof or replant a plant layer on the roof.


In respects of locations or structures without an existing Green Authority Certification

This policy covers the reasonable and necessary costs incurred by the Insured, not to exceed the
lesser of $10,000,000 per OCCURRENCE for Property Damage and Time Element combined or
10% of the amount of Property Damage loss at the Insured location, to satisfy the minimum
requirements to obtain the Green Authority certification including but not limited to:

        1. Added costs repair or replace such damaged insured property with material or like kind
           and quality that qualifies as Green.

        2. Added costs to fill soil on the roof or plant a plant layer on the roof.

        3. Added costs to flush out the air in the area of the physically damaged insured property
           with 100% outside air and to provide replacement filtration media for the building’s
           ventilation system that controls such damaged area all when part of a Green
           reconstruction.



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        4. Added costs to hire an accredited architect, engineer or other professional to design,
           oversee or document the repair or replacement of the damaged building to Green
           certification standards.

        5. Added costs in testing to verify that the repaired or replaced building components and
           systems are performing in accordance with Green certification requirements.

        6. Added costs in the registration and certification fees charged by the United States Green
           Building Council or foreign certification equivalent.


References and Applications: The following term(s) means:

Green
Products, materials, methods and processes certified by a Green Authority that conserve natural
resources, reduce energy or water consumption, avoid toxic or other polluting emissions or
otherwise minimize environmental impact.

Green Authority
An authority on Green buildings, products, materials, methods or processes certified and accepted
by Leadership in Energy and Environmentally Design (LEED ®), Green Building Initiative Green
Globes ®, Energy Starr Rating System or any other recognized Green rating system.


TIME ELEMENT

The PERIOD OF LIABILITY applying to insured TIME ELEMENT loss shall include the additional
time that results due to the Insured’s inability to resume operations directly resulting from the
coverage provided in this Endorsement.




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                                   ENDORSEMENT #6




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                                           ENDORSEMENT # 7

                           APPLICATION OF SUBLIMITS ENDORSEMENT

    1. Application to Insured Interests. Each sublimit stated in this Policy applies as part of, and
       not in addition to, the overall Limit of Liability for an Occurrence insured hereunder. Each
       sublimit is the maximum amount recoverable from all insurance layers combined for all
       insured loss, damage or destruction, expense, time element or other insured interest
       relating to the Occurrence.

    2. Application within Perils. If insured under this Policy, any sublimit for Earthquake, Flood,
       or Named Windstorm is the maximum amount recoverable from all insurance layers
       combined for all insured loss, damage or destruction, expense, time element or other
       insured interest relating to such an Occurrence.

    3. A. The following definitions wherever used in the Policy are amended to include the
          following additional conditions

              (1) The term Earthquake or Earth Movement as the case may be shall include tsunami,
                  tidal wave, seismic sea wave, or series thereof caused by any one disturbance.

              (2) The term Flood does not include Storm Surge caused by named Windstorm, or
                  tsunami, tidal wave, seismic sea wave, or series thereof caused by Earthquake or
                  Earth Movement if otherwise defined under the Policy.

              (3) The term Named Windstorm shall include Storm Surge. Storm Surge means water
                  driven inland from coastal waters by high winds and low atmospheric pressure
                  caused by Named Windstorm. Such definition shall not be considered Flood.

         This endorsement takes precedence over and, if in conflict with any other wording in the
         contract bearing on the application of sublimits, replaces that wording.




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                                   ENDORSEMENT #8




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                                ENDORSEMENT #9




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                                ENDORSEMENT #10




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                                         ENDORSEMENT #11

                                 ELECTRONIC DATA ENDORSEMENT

1.       Electronic Data Exclusion
         Notwithstanding any provision to the contrary within the Policy or any endorsement thereto,
         it is understood and agreed as follows:-

         a)    This Policy does not insure, loss, damage, destruction, distortion, erasure, corruption
               or alteration of ELECTRONIC DATA from any cause whatsoever (including but not
               limited to COMPUTER VIRUS) or loss of use, reduction in functionality, cost, expense
               of whatsoever nature (including but not limited to CYBER EXTORTION PAYMENTS)
               and any business interruption losses resulting therefrom, regardless of any other
               cause or event contributing concurrently or in any other sequence to the loss.

               ELECTRONIC DATA means facts, concepts and information converted to a form
               useable for communications, interpretation or processing by electronic and
               electromechanical data processing or electronically controlled equipment and includes
               programs, software, and other coded instructions for the processing and manipulation
               of data or the direction and manipulation of such equipment.

               COMPUTER VIRUS means a set of corrupting, harmful or otherwise unauthorized
               instructions or code including a set of maliciously introduced unauthorized instructions
               or code, programmatic or otherwise, that propagate themselves through a computer
               system or network of whatsoever nature. COMPUTER VIRUS includes but is not
               limited to Trojan Horses, worms and time or logic bombs.

               CYBER EXTORTION PAYMENTS means anything of value, including money, or other
               property or services that the Insured is forced to pay or to provide to third parties for an
               act, threat or series of threats made to introduce a Computer Virus or gain
               unauthorized access to the Insured’s Computer Systems.

         b)    However, in the event that a peril listed below results from any of the matters
               described in paragraph a) above, this Policy subject to all its terms, conditions and
               exclusions will cover physical damage occurring during the Policy period to property
               insured by this Policy directly caused by such listed peril.

               Listed Perils:
               Fire
               Explosion


2.       Electronic Data Processing Media Valuation
         Notwithstanding any provision to the contrary within the Policy or any endorsement thereto,
         it is understood and agreed as follows:-

         Should electronic data processing media insured by this Policy suffer physical loss or
         damage insured by this Policy, then the basis of valuation shall be the cost to repair,
         replace or restore such media to the condition that existed immediately prior to such loss or
         damage, including the cost of reproducing any ELECTRONIC DATA contained thereon,



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         providing such media is repaired, replaced or restored. Such cost of reproduction shall
         include all reasonable and necessary amounts, not to exceed $ 25,000,000 any one loss,
         incurred by the Assured in recreating, gathering and assembling such ELECTRONIC
         DATA. If the media is not repaired, replaced or restored the basis of valuation shall be the
         cost of the blank media. However this Policy does not insure any amount pertaining to the
         value of such ELECTRONIC DATA to the Insured or any other party, even if such
         ELECTRONIC DATA cannot be recreated, gathered or assembled.

         “Media” is defined as materials upon which data is recorded including, but not limited to,
         papertapes, cards, electronic memory circuits, and magnetic or optical storage devices.




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Revised Definition of Spouse
Endorsement

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Policyholder                           Policy No.                       Effective Date:
Marriott International, Inc.           PPR 3700638-17                   04/01/2019

It is hereby understood and agreed that the following changes are made and incorporated into the
Policy/Certificate:

    PURPOSE: California law provides that registered domestic partners have the same rights,
    protections, and benefits, and are subject to the same responsibilities, obligations, and duties under
    law, whether they derive from statutes, administrative regulations, court rules, government policies,
    common law, or any other provisions or sources of law, as are granted to and imposed upon
    spouses. Existing law requires, where necessary to implement the rights of registered domestic
    partners, gender-specific terms referring to spouses to be construed to include domestic partners.

    DEFINITIONS, TERMS, CONDITIONS AND PROVISIONS:
    The definitions, terms, conditions or any other provisions of the policy, contract, certificate and/or
    riders and endorsements to which this mandatory endorsement is attached are hereby amended and
    superseded as follows:

    Spouse includes a Registered Domestic Partner.


Except for the above, this endorsement does not vary, alter, waive, or extend any of the terms of the
Policy/Certificate to which it is attached.


Endorsement No. [12]


Insurance Company: Zurich American Insurance Company



                                                                          Date:

                               Countersigned by




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International Property Endorsement


Insureds Name                                                           Policy Number                 Effective Date      Endorsement
                                                                                                                          Number
                                                                                                                          13
Marriott International, Inc.                                            PPR 3700638-17                4/1/2019




                            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


This Endorsement modifies insurance provided under the policy

1.    Declarations- Territory of the Insuring Agreement the following is added

      Loss or damage to locations in a Prohibited Jurisdiction is not covered under this policy:


                Prohibited Jurisdiction means any country or political subdivision, outside the United States of America and its
                territories and possessions, in which we are not allowed to insure risks and where doing so would violate the insurance
                laws and regulations of such country or political subdivision.

2. The Limits of Liability Sections of the policy are amended to include the following
      1.        Overall International Insurance Program Limit and Sub-Limits of Insurance

                In consideration of the payment of the premium for your international insurance program, you and we agree that for the
                purpose of the application of the Limit of Insurance and any of the Sub-Limits of Insurance under this policy, the total
                sum of loss that could be payable for the same, occurrence under:

                a.          this policy;
                b.          local policy(ies); and the
                c.          FoS(Freedom of Services) policy(ies),

      or any combination of the above mentioned policies (a., b. and c. hereafter referred to collectively as "the Polices") cannot
          exceed the applicable limits as shown in the Limits of Liability Sections of this policy.


3. Property Damage – Section B

                This section is revised to add the following:


     Additional first Named Insured Coverage

           1.        Notwithstanding any provision to the contrary, we will pay for loss in a Prohibited Jurisdiction, only to the first
                     Named Insured as respects its insurable interest and only to the extent the loss is not otherwise insured, provided:

                     a.   The local law in the Prohibited Jurisdiction prohibits coverage under or payment for loss under Non-Admitted
                          Insurance, Difference In Conditions Insurance, or Difference In Limits Insurance; and



                                                                                                        (International Property Endorsement)
                                                                                                                                  Page 1 of 4
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               b.     The loss is a result of direct physical loss or damage caused by a covered cause of loss to Property of the type
                      insured according to the terms and conditions of this policy and that physical loss or damage would give rise to a
                      claim under this policy if it occurred in the Coverage Territory.

               c.    The most we will pay under this Coverage is the amount that would have been payable under this Policy if local
                     law allowed coverage under or payment for loss under Non-Admitted Insurance, Difference In Conditions
                     Insurance, or Difference In Limits Insurance.

      2.       In the event of loss payable to the first Named Insured as described above, the applicable subsidiary where the
               physical loss or damage occurs shall be required to comply with all the provisions under Loss Conditions section of
               this policy.

      3.       Any subsidiary(ies) located in any Prohibited Jurisdiction where local law prohibits coverage under or payment for
               loss under Non-Admitted Insurance, Difference In Conditions Insurance, or Difference In Limits Insurance, are not
               parties to or beneficiaries under this policy and have no rights under it.

      4.       In the event of loss in a Prohibited Jurisdiction payable under this provision, the first Named Insured shall pay us an
               amount equal to its share of any recoveries made by or on behalf of any subsidiary as if the first Named Insured had
               received such recoveries, or payment to the first Named Insured under this policy shall be reduced by the recoveries
               made by or on behalf of any subsidiary.

      5. We will pay no more than the applicable sub–limit(s) of insurance indicated in the Limits of Liability sections of the
         policy for the first Named Insured Additional Coverage.
      6.       The following additional exclusion applies

               Netherlands: This Policy excludes physical loss or damage directly or indirectly caused by or resulting from the failure
               or overflowing of dikes, dams, floodgates or other similar works, regardless of any other cause or event, whether or
               not insured under this Policy, contributing concurrently or in any other sequence to the loss. However, if there is
               ensuing physical loss or damage by fire or explosion, the exclusion does not apply to the loss or damage caused by the
               fire or explosion.

                        Covered Cause of Loss means all risks of direct physical loss or damage, unless excluded.


4. The Exclusions Section of the Policy is amended to add the following
    The following applies to all locations or covered property outside of the USA, its territories, possessions and missions, and
    the Commonwealth of Puerto Rico:

    This Policy excludes loss or damage that is covered under any government or national program, pool or scheme. This policy
    shall apply as excess of any amounts recoverable under such programs, pools or schemes, subject to the Policy provisions,
    including applicable exclusions, deductibles and limits, all as shown in this section and elsewhere in this Policy.


5. The General Provisions Section of the policy is amended to include the following
    International Insurance Program Structure
           This policy is part of an international insurance program. This program arrangement is a compilation of different
           policies, which all have one common goal: to cover you as agreed to in this policy.

           Therefore, you agree to special clauses regarding limits and deductibles with us, considering the overall intent of your
           international insurance program.

           The following policies may be part of your international insurance program:

                   this policy
                   local policy(ies)
                   FoS (Freedom of Services) policy(ies)


                                                                                                    (International Property Endorsement)
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FoS (Freedom of Services) Policy means a policy which only covers risks and locations in the EEA. EEA means the European
Economic Area; within this area, free provision of services in all countries without any additional insurance license is allowed.

     Special Conditions regarding Aggregation

        In the event that the total sum of payments for loss under "the Policies" for the same occurrence exceeds the applicable
        Limit of Insurance or any applicable Sub-Limits of Insurance under this policy, you agree to reimburse us for any amount
        that we pay that exceeds such Limit of Insurance or Sub-Limit of Insurance.

        Any amount due under the terms of this clause shall be paid within 28 days of notice from us.


Overall International Insurance Program Deductible

        In consideration of the payment of the premium for your international insurance program, you and we agree that for the
        purpose of the application of the deductible(s) for loss payable under this policy, that the deductible(s) amounts applied
        under local policy(ies) and FoS (Freedom of Services) policy(ies), as applicable, for loss for the same occurrence, as
        payable under this policy, are added together. Deductibles that apply to types of coverage, covered causes of loss,
        specific locations, or specific property will be added together in the applicable policy(ies) in the same manner that they
        are applied under this policy.

        In the event that the sum of deductible(s) produced by this calculation exceeds the applicable deductible(s) as shown in
        the Declarations Schedule for the loss for the same Occurrence payable under this Policy, the Company shall undertake
        to reimburse the amount that exceeds the applicable deductible(s) as shown in the Declarations Schedule of this policy.

        In the event that the sum of deductible(s) produced by this calculation is less than the applicable deductible(s) as shown in
        the Deductibles Section for the loss for the same occurrence payable under this policy, then the difference between the
        applicable deductible under this policy and the sum calculated above will be applied under this policy.




6.   Loss Conditions section of the policy is amended to include the following additional condition


     7) Duties as respects direct physical loss or damage in a Prohibited Jurisdiction

     The duties and requirements imposed upon any insured under this Policy shall not apply in any Prohibited Jurisdiction.
     However, with respect to any direct physical loss or damage in a Prohibited Jurisdiction, it shall be the duty of the first
     Named Insured to do or to cause the applicable subsidiary to do such things as would be required of such subsidiary if this
     policy applied directly to such claim or "suit", as the case may be.

     When the amount of direct physical loss or damage is determined, we will promptly pay to or reimburse the first Named
     Insured, at the mailing address listed in the Declarations, the amount of physical loss or damage covered under the terms of
     this policy.

     The first Named Insured shall pay us an amount equal to its share of any recoveries made by or on behalf of any subsidiary
     operating in a Prohibited Jurisdiction, as if such recoveries had been received by the first Named Insured.

8) NON-ADMITTED INSURANCE

          If physical loss or damage occurs at a Location outside of the United States of America including its territories and
          possessions, the Company will pay according to the terms and conditions of this Policy for loss as a result of direct
          physical loss of or damage caused by a Covered Cause of Loss to Covered Property occurring at a Location,
          provided there is no local insurance applying to such Location.




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All other terms and conditions of the policy remain unchanged.




                                                                     Signed

                                                         __________________________
                                                                      Date




                                                                              (International Property Endorsement)
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Exclusion of Loss Resulting from Certified
Acts of Terrorism with Exceptions and Sub-Limits
 Insured Name                           Policy Number                Effective Date                  Endorsement Number
 Marriott International, Inc.           PPR 3700638-17               04/01/2019                      14

                                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
This endorsement modifies your insurance:




    The following exclusion and limitations apply to all loss or damage under all coverage(s) of the policy and for all locations
    (whether or not identified in this endorsement).
    A. Terrorism Exclusion
          We will not pay for loss or damage caused directly or indirectly by a “certified act of terrorism”, including action in hin-
          dering or defending against an actual or expected “certified act of terrorism”. Such loss or damage is excluded regard-
          less of any other cause or event that contributes concurrently or in any sequence to the loss.
    B. Exceptions to the Terrorism Exclusion

          1. Fire Following Exception. If the “certified act of terrorism” results in fire, we will pay for the direct physical loss or
             damage to Covered Property caused by that fire. This exception does not apply to any other loss or damage in-
             cluding but not limited to business income, extra expense, any additional coverage and any coverage extension.
             Regardless of the method of valuation otherwise stated for the property, we will value the property subject to this
             exception at actual cash value.

          2. Scheduled Locations Exception. If locations are identified in the Schedule of Locations of this endorsement, the
             Terrorism Exclusion does not apply to loss or damage at those locations.
    C. Sub-Limits of Insurance Applicable to Terrorism
          These sub-limits apply to all loss or damage resulting from a “certified act of terrorism” to which the Terrorism Exclu-
          sion does not apply for any reason, whether by application of an exception or otherwise, and for which the policy pro-
          vides coverage. Our total payment(s) for loss or damage caused directly or indirectly by a “certified act of terrorism”,
          regardless of any other cause or event that contributes concurrently or in any sequence to the “certified act of terror-
          ism”, shall not exceed the lesser of the applicable limit(s), including sub-limits, stated in the policy or:

          1. For the total amount of all loss or damage at a location identified in the Schedule of Locations of this endorsement,
             the applicable scheduled sub-limit stated in this endorsement for that location.

          2. For direct physical loss or damage to building and personal property at all other locations, the applicable Sub-Limit
             for All Other Locations stated in this endorsement.

          3. For the total amount of all loss or damage in any one policy year under all coverage(s) regardless of the number of
             locations involved or number of “certified acts of terrorism”, the Annual Aggregate Limit stated in this endorse-
             ment.

               Schedule of Locations
               Location                                      Sub-Limit per “certified act of terrorism”


               1. ALL LOCATIONS                              $        NCP
               2.                                            $
               3.                                            $
               4.                                            $
               5.                                            $
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   Sub-Limit for All Other Locations: $2,500,000 in the aggregate per “certified act of terrorism”.



   Annual Aggregate Limit: $2,500,000 regardless of the number of “certified acts of terrorism”.

D. Deductibles

   We will not pay for any otherwise covered loss or damage subject to the sub-limits of this endorsement until the
   amount of that loss or damage exceeds the applicable deductible(s) stated in this endorsement. We will then pay the
   amount of that loss or damage in excess of the deductible(s) up to the applicable sub-limit of insurance. The deducti-
   ble amounts are:

   1. For loss or damage at locations identified in the Schedule of Locations of this endorsement, $_______________
      per location for each “certified act of terrorism”.

   2. For all other locations: $__________________ per location and for each “certified act of terrorism”.

       If no amount appears in the applicable line, the policy deductible(s) apply.
E. Definition
   “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in accordance with the provi-
   sions of the federal Terrorism Risk Insurance Act (“TRIA”), to be an act of terrorism. The Terrorism Risk Insurance
   Act provides that the Secretary of Treasury shall certify an act of terrorism:
   1. To be an act of terrorism;
   2. To be a violent act or an act that is dangerous to human life, property or infrastructure;
   3. To have resulted in damage within the United States, or outside of the United States in the case of an air carrier
      (as defined in section 40102 of Title 49, United States Code) or a United States flag vessel (or a vessel based
      principally in the United States, on which United States income tax is paid and whose insurance coverage is sub-
      ject to regulation in the United States), or the premises of a United States mission; and
   4. To have been committed by an individual or individuals as part of an effort to coerce the civilian population of the
      United States or to influence the policy or affect the conduct of the United States Government by coercion.
   No act may be certified as an act of terrorism if the act is committed as part of the course of a war declared by Con-
   gress (except for workers’ compensation) or if losses resulting from the act, in the aggregate for insurance subject to
   TRIA, do not exceed $5,000,000.
F. Application of Other Exclusions
   The terms and limitations of a terrorism exclusion or any other exclusion, or the inapplicability or omission of a terror-
   ism exclusion or any other exclusion, do not serve to create coverage which would otherwise be excluded, limited or
   restricted under this policy.
G. Cap on Losses From Certified Acts of Terrorism
   If aggregate insured losses attributable to one or more "certified acts of terrorism" exceed $100 billion in a calendar
   year (January 1 through December 31) and we have met our insurer deductible under the Terrorism Risk Insurance
   Act, we shall not be liable for the payment of any portion of the amount of such losses that exceeds $100 billion, and in
   such case insured losses up to that amount are subject to pro rata allocation in accordance with procedures estab-
   lished by the Secretary of Treasury.


   All other terms and conditions of this policy remain unchanged.
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Multiple Policies Endorsement
LIMIT OF INSURANCE



Insureds Name                                                     Policy Number              Effective Date    Endorsement Number

Marriott International, Inc.                                      PPR 3700638-17             04/1/2019         15


                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



MULTIPLE POLICIES – LIMIT OF INSURANCE
In the event of direct physical loss of or damage to Covered Property caused by a covered cause of loss in any one (1) occurrence
involving this policy and any other policies issued by us or issued on our behalf to the Named Insured, the total amount of
insurance payable by any combination of policies issued by us or issued on our behalf to the Named Insured shall not exceed the
(policy) Limit of Insurance as shown in the Declarations, nor any Premises Limit or any Sub-Limits of Insurance as shown in the
Declarations Schedule in the designated controlling policy.


The designated controlling Policy Number is PPR 3700638-17




                                                                                                              Signed

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                                                                                                      Date
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Amendatory Endorsement - Puerto Rico
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                                                                             ZURICH




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 Named Insured: Marriott International Inc.

 Policy Number: PPR 3700638-17

 Effective Date:   June 1, 2019

 Endorsement # 18
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Policy Changes Endorsement
                                                                          ZURICH




                                                                           EDGE 303-A (08/16)
